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Attorney or Party Name, Address, Telephone & FAX
Nos., State Bar No. & Email Address

Ronald Appel, Esq. SBN: 132023
APPEL & APPEL

2522 Chambers Road

Tustin, CA 92780

(714) 573-4090
atiorneyrappel@gmail.com

[_] Movant appearing without an attorney
[XJ] Attorney for Movant

FOR COURT USE ONLY

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re:
Veerkamp, Linda M

CASE NO.: 2:33-bk-17901-VZ
CHAPTER: 13

NOTICE OF MOTION AND MOTION
FOR RELIEF FROM THE AUTOMATIC
STAY UNDER 11 U.S.C. § 362
(with supporting declarations)

(REAL PROPERTY)

Debtor(s).

DATE: 03/12/2024
TIME: 10:00 AM
COURTROOM: 1368

Movant: Farmers and Merchants Bank of Long Beach

1.

Hearing Location:
XX] 255 East Temple Street, Los Angeles, CA 90012

L] 21041 Burbank Boulevard, Woodland Hills, CA 91367
L_] 3420 Twelfth Street, Riverside, CA 92501

_] 411 West Fourth Street, Santa Ana, CA 92701
[] 1415 State Street, Santa Barbara, CA 93101

Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested

parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
granting relief from the automatic stay as to Debtor and Debtor's bankruptcy estate on the grounds set forth in the

attached Motion.

To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in

preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using

the format required by LBR 9004-1 and the Court Manual.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
such failure as consent to granting of the motion.

6. This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,

you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
the hearing.

7. (J This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
motion, you must file and serve a response no later than (date) and (time) :and, you
may appear at the hearing.

a. [] An application for order setting hearing on shortened notice was not required (according to the calendaring
procedures of the assigned judge).

b. [] An application for order setting hearing on shortened notice was filed and was granted by the court and such
motion and order have been or are being served upon the Debtor and upon the trustee (if any).

c. L] Anapplication for order setting hearing on shortened notice was filed and remains pending. After the court
rules on that application, you will be served with another notice or an order that specifies the date, time and

place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
motion.

Date: 02/06/2024 APPEL & APPEL

Printed name of law firm (if applicable)

Ronald Appel, Esq. 2
Printed name of indiifiuall Move t or attorney for Movant

} |
| | / |

Signature of individual Moyant or attorney for Movant

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MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY

1. Movant is the:
[Xl Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.

Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
mortgage or deed of trust) or (2) is the assignee of the beneficiary.

Servicing agent authorized to act on behalf of the Holder or Beneficiary.
Other (specify):

oi

2. The Property at Issue (Property):
a. Address:

Street address: 18320 Regina Ave
Unit/suite number.
City, state, zip code: Torrance, CA 90504

b. Legal description, or document recording number (including county of recording), as set forth in Movant’s deed of
trust (attached as Exhibit _A __):

3. Bankruptcy Case History:

a. AKL voluntary L] involuntary bankruptcy petition under chapter (17 [111 [112 §&13
was filed on (dafe) 11/29/2024 .

b. L] An order to convert this case to chapter []7 [111 [112 [113 was entered on (date)
c. L] Aplan, if any, was confirmed on (date)

4. Grounds for Relief from Stay:

a. [X Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
(1) EJ Movant's interest in the Property is not adequately protected.
(A) L) Movant's interest in the Property is not protected by an adequate equity cushion.

(B) &] The fair market value of the Property is declining and payments are not being made to Movant
sufficient to protect Movant's interest against that decline.

(C) [X%} Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor's
obligation to insure the collateral under the terms of Movant's contract with the Debtor.

(2) LC) The bankruptcy case was filed in bad faith.

(A) L] Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor's case
commencement documents.

(B) () The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.

(C) 1) Anon-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
filing this bankruptcy case.

(D) L) Other bankruptcy cases have been filed in which an interest in the Property was asserted.

(E) LJ The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.

(F) L] Other (see attached continuation page).

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(3) (Chapter 12 or 13 cases only)

(A) L] All payments on account of the Property are being made through the plan.

[X] Preconfirmation [_] Postconfirmation plan payments have not been made to the chapter 12
trustee or chapter 13 trustee.

(B) & Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
been made to Movant.

(4) CL] The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property.

(5) L] The Movant regained possession of the Property on (date)
which is [] prepetition [_] postpetition.

(6) (] For other cause for relief from stay, see attached continuation page.

b. () Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to
§ 362(d)(2)(B), the Property is not necessary to an effective reorganization.

c. L] Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
30 days after the court determined that the Property qualifies as “single asset real estate” as defined in
11 U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.

d. LJ] Pursuant to 11 U.S.C. § 362(d)(4), the Debtor's filing of the bankruptcy petition was part of a scheme to delay,
hinder, or defraud creditors that involved:

(1) (1 The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
court approval; or

(2) L] Multiple bankruptcy cases affecting the Property.
5. [] Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

a. [| These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
been entitled to relief from the stay to proceed with these actions.

b. [_] Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit

c. [] Other (specify):

6. Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
motion)

a. The REAL PROPERTY DECLARATION on page 6 of this motion.
b. [) Supplemental declaration(s).

c. [X The statements made by Debtor under penalty of perjury concerning Movant's claims and the Property as set
forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of the case
commencement documents are attached as Exhibit B ‘

d. (] Other:

7. [] An optional Memorandum of Points and Authorities is attached to this motion.

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Movant requests the following relief:

1.
2.

10.

11.

12.

13.

14.

Relief from the stay is granted under: [XJ 11 U.S.C. § 362(d)(1) [111 U.S.C. § 362(d)(2) [111 U.S.C. § 362(d)(3).

x

x

OO O OO

O

Xl
U

Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
remedies to foreclose upon and obtain possession of the Property.

Movant, or its agents, may, at its option, offer, provide and enter into a potential forebearance agreement, loan
modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.

Confirmation that there is no stay in effect.

The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
enforce its remedies regarding the Property shall not constitute a violation of the stay.

The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
the same terms and conditions as to the Debtor.

The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:

L] without further notice, or [] upon recording of a copy of this order or giving appropriate notice of its entry in
compliance with applicable nonbankruptcy law.

Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
governing notices of interests or liens in real property, the order is binding in any other case under this title
purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
circumstances or for good cause shown, after notice and hearing.

The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
interest in the Property for a period of 180 days from the hearing of this Motion:

L] without further notice, or [1] upon recording of a copy of this order or giving appropriate notice of its entry in
compliance with applicable nonbankruptcy law.

The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:

(CO without further notice, or [] upon recording of a copy of this order or giving appropriate notice of its entry in
compliance with applicable nonbankruptcy law.

Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.

Code § 2920.5(c)(2)(C).

If relief from stay is not granted, adequate protection shall be ordered.

See attached continuation page for other relief requested.

Date: 02/06/2024 APPEL & APPEL

Printed name of law firm<(/f appfigable)
Ronald Appel, Esq) o\ /

i

Printed name of individua pee attorney for Movant
/ i/ i

/ {/ j
Signature of pepe Mc rn or attorney for Movant

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REAL PROPERTY DECLARATION

James Ketchersid

I, (print name of Declarant) , declare:

1. | have personal knowledge of the matters set forth in this declaration and, if called upon to testify, | could and would
competently testify thereto. | am over 18 years of age. | have knowledge regarding Movant's interest in the real
property that is the subject of this Motion (Property) because (specify):

a
b.
ec
2. a. ]

b. LJ

| am the Movant.

| am employed by Movant as (state title and capacity):
Senior Vice President

Other (specify):

| am one of the custodians of the books, records and files of Movant that pertain to loans and extensions of
credit given to Debtor concerning the Property. | have personally worked on the books, records and files, and
as to the following facts, | know them to be true of my own knowledge or | have gained knowledge of them
from the business records of Movant on behalf of Movant. These books, records and files were made at or
about the time of the events recorded, and which are maintained in the ordinary course of Movant’s business
at or near the time of the actions, conditions or events to which they relate. Any such document was
prepared in the ordinary course of business of Movant by a person who had personal knowledge of the event
being recorded and had or has a business duty to record accurately such event. The business records are
available for inspection and copies can be submitted to the court if required.

Other (see attached):

3. The Movant is:

a. X

b.

dO

Holder: Movant has physical possession of a promissory note that (1) names Movant as the payee under the
promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer. A true and correct
copy of the note, with affixed allonges/indorsements, is attached as Exhibit _D _.

Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property
(e.g., mortgage or deed of trust) or (2) is the assignee of the beneficiary. True and correct copies of the
recorded security instrument and assignments are attached as Exhibit

Servicing agent authorized to act on behalf of the:

CL] Holder.
[] Beneficiary.

Other (specify):

4. a. The address of the Property is:

Street address: 18320 Regina Ave
Unit/suite no.:
City, state, zip code: Torrance, CA 90504

a

The legal description of the Property or document recording number (including county of recording) set forth in the

Movant's deed of trust is:

See attached Exhibit "A"

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Type of property (check all applicable boxes):
a. L] Debtor's principal residence b. [J Other residence
c. [] Multi-unit residential d. CL] Commercial
e. L] Industrial f. (] Vacant land

g. LJ Other (specify):
Nature of the Debtor's interest in the Property:

Sole owner

Co-owner(s) (specify):

Lienholder (specify):

Other (specify):

The Debtor [] did [] did not list the Property in the Debtor's schedules.

The Debtor acquired the interest in the Property by [] grantdeed [] quitclaim deed [] trust deed.
The deed was recorded on (date)

~@ 29 5 ®
OOOOOk

Movant holds a [XJ deed of trust [] judgmentlien [other (specify)
that encumbers the Property.

a. J] A true and correct copy of the document as recorded is attached as Exhibit C :

b. BX] A true and correct copy of the promissory note or other document that evidences the Movant's claim is
attached as Exhibit _D__.

c. [) A true and correct copy of the assignment(s) transferring the beneficial interest under the note and deed of
trust to Movant is attached as Exhibit

Amount of Movant's claim with respect to the Property:

PREPETITION POSTPETITION TOTAL

a. | Principal: $ 250000.00 $ 251869.98 $ 251869.98
b. | Accrued interest: $ 7323.04 $ 5492.28 $ 12815.32
c. | Late charges $ 243.40 $ 121.70 $ 365.10
d. | Costs (attorney’s fees, foreclosure fees, other

costs): $ $ 3500.00 $ 3500.00
e. | Advances (property taxes, insurance): $ $ $
f. Less suspense account or partial balance paid: | $[ $[ $[ ]
g. | TOTAL CLAIM as of (date): $ $ $ 268550.40
h. [] Loan is all due and payable because it matured on (date)

9. Status of Movant's foreclosure actions relating to the Property (fil! the date or check the box confirming no such action

has occurred):
a. Notice of default recorded on (date)

or X] none recorded.

b. Notice of sale recorded on (date) or | none recorded.
c. Foreclosure sale originally scheduled for (date) or J none scheduled.
d. Foreclosure sale currently scheduled for (date) or Xj none scheduled.
e. Foreclosure sale already held on (date) or [x] none held.
f. Trustee's deed upon sale already recorded on (date) or [X] none recorded.
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10. Attached (optional) as Exhibit is a true and correct copy of a POSTPETITION statement of account that
accurately reflects the dates and amounts of all charges assessed to and payments made by the Debtor since the
bankruptcy petition date.

11. (] (chapter 7 and 11 cases only) Status of Movant's loan:

a. Amount of current monthly payment as of the date of this declaration: $ for the month of
20__.
b. Number of payments that have come due and were not made: . Total amount: $

c. Future payments due by time of anticipated hearing date (if applicable):

An additional payment of $ will come due on (date) , and on the day
of each month thereafter. If the payment is not received within days of said due date, a late charge of
$ will be charged to the loan.

d. The fair market value of the Property is $ _ established by:

(1) L] An appraiser's declaration with appraisal is attached as Exhibit___.

(2) (] Areal estate broker or other expert's declaration regarding value is attached as Exhibit__—

(3) LJ A true and correct copy of relevant portion(s) of the Debtor's schedules is attached as Exhibit__.
(4) L] Other (specify):

e. Calculation of equity/equity cushion in Property:

Based upon [_] a preliminary title report [] the Debtor's admissions in the schedules filed in this case, the
Property is subject to the following deed(s) of trust or lien(s) in the amounts specified securing the debt against
the Property:

Amount as Scheduled Amount known to
Name of Hoier by Debtor (if any) Declarant and Source
1st deed of trust: $ $
2nd deed of trust: $ $
3rd deed of trust: $ $
Judgment liens: $ $
Taxes: $ $
Other: $ $
TOTAL DEBT: $
f. Evidence establishing the existence of these deed(s) of trust and lien(s) is attached as Exhibit ____ and

consists of:
(1) C1 Preliminary title report.
(2) L] Relevant portions of the Debtor’s schedules.
(3) L) Other (specify):
g. CL) 11U.S.C. § 362(d)(1) - Equity Cushion:
| calculate that the value of the “equity cushion” in the Property exceeding Movant's debt and any lien(s)

senior to Movant's debt is $ and is % of the fair market value
of the Property.

h. [1] 11 U.S.C. § 362(d)(2)(A) - Equity:
By subtracting the total amount of all liens on the Property from the value of the Property as set forth in
Paragraph 11(e) above, | calculate that the Debtor's equity in the Property is $.

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i. (1 Estimated costs of sale: $ (estimate based upon % of estimated gross sales
price)

j. (J The fair market value of the Property is declining because:

12. 4 (Chapter 12 and 13 cases only) Status of Movant's loan and other bankruptcy case information:

a. A341(a) meeting of creditors is currently scheduled for (or concluded on) the following date: 11/04/2024
A plan confirmation hearing currently scheduled for (or concluded on) the following date: .
A plan was confirmed on the following date (if applicable): ;

b. Postpetition preconfirmation payments due BUT REMAINING UNPAID since the filing of the case:

Number of | Number of | Amount of Each Payment Total
Payments _| Late Charges or Late Charge
4 4 $ 1830.76 $60.85 $ 7566.44
$ $
$ $
$ $
$ $
$ $
$ $
$
(See attachment for additional breakdown of information attached as Exhibit ‘)

c. Postpetition postconfirmation payments due BUT REMAINING UNPAID since the filing of the case:

Number of | Number of Amount of each Payment

Payments | Late Charges or Late Charge
3 2 § 1830.76 $60.85

Total

6) | 69/9 | 69

6 |
|

d. Postpetition advances or other charges due but unpaid: $
(For details of type and amount, see Exhibit )

e. Attorneys’ fees and costs: ¢ 3500.00
(For details of type and amount, see Exhibit )

f. Less suspense account or partial paid balance: $I ]
TOTAL POSTPETITION DELINQUENCY: § 16680.37

g. Future payments due by time of anticipated hearing date (if applicable): ‘
An additional payment of $_1830.76 will come due on _03/01/2024 _. and on
the _1st__ day of each month thereafter. If the payment is not received by the 15th day of the month, a late
charge of $60.85 will be charged to the loan.

h. Amount and date of the last 3 postpetition payments received from the Debtor in good funds, regardless of how
applied (if applicable):

$ received on (date)
$ received on (date)
$ received on (date)
i. (0 The entire claim is provided for in the chapter 12 or 13 plan and postpetition plan payments are delinquent.
A plan payment history is attached as Exhibit . See attached declaration(s) of chapter 12 trustee or

13 trustee regarding receipt of payments under the plan (attach LBR form F 4001-1.DEC.AGENT.TRUSTEE).
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13. 1 Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor's obligation to
insure the collateral under the terms of Movant's contract with the Debtor.

14. [] The court determined on (date) that the Property qualifies as “single asset real estate” as defined in
11 U.S.C. § 101(51B). More than 90 days have passed since the filing of the bankruptcy petition; more than 30
days have passed since the court determined that the Property qualifies as single asset real estate; the Debtor
has not filed a plan of reorganization that has a reasonable possibility of being confirmed within a reasonable
time: or the Debtor has not commenced monthly payments to Movant as required by 11 U.S.C. § 362(d)(3).

15. [ The Debtor's intent is to surrender the Property. A true and correct copy of the Debtor's statement of intentions is
attached as Exhibit

16. [.] Movant regained possession of the Property on (date) , whichis [J prepetition (] postpetition.

17. [] The bankruptcy case was filed in bad faith:

a. [] Movantis the only creditor or one of few creditors listed in the Debtor's case commencement documents.

b. [1 Other bankruptcy cases have been filed in which an interest in the Property was asserted.

c. [J The Debtor filed only a few case commencement documents. Schedules and a statement of financial affairs
(or chapter 13 plan, if appropriate) have not been filed.

a

L] Other (specify):

18. [] The filing of the bankruptcy petition was part of a scheme to delay, hinder, or defraud creditors that involved:
a. [] The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or

b OO
4.

court approval. See attached continuation page for facts establishing the scheme.

Multiple bankruptcy cases affecting the Property include:

Case name:

Chapter: Case number:

Date dismissed: Date discharged: Date filed:
Relief from stay regarding the Property (] was [] was not granted.

Case name:

Chapter: Case number:

Date dismissed: Date discharged: Date filed:
Relief from stay regarding the Property ] was [] was not granted.

Case name:

Chapter: Case number:

Date dismissed: Date discharged: Date filed:

Relief from stay regarding the Property [| was [] was not granted.

[] See attached continuation page for information about other bankruptcy cases affecting the Property.

( See attached continuation page for facts establishing that the multiple bankruptcy cases were part of a

scheme to delay, hinder, or defraud creditors.

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19. [] Enforcement actions taken after the bankruptcy petition was filed ara specified in the attached supplemental
declaration(s).

a. (| These actions were taken before Movant knew the bankruptcy petition had been filed, and Movant would
have been entitled to relief from stay to proceed with these actions.

b. [J] Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit

c. (] For other facts justifying annulment, see attached continuation page.

| declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

/) sg

j pf

f - ey /
02/06/2024 James Ketchersid XY SG Lynn ad
Date Printed name ie Signature

/

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EXHIBIT A
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LEGAL DESCRIPTION

Lot 37 of Tract 15933, in the City of Torrance, County of Los Angeles,
State of California, as per map recorded in book 347, pages 38 and 39 of
maps, in the office of the Los Angeles Recorder.
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EXHIBIT B
Casé 2:23-BK-4 7901 NZ eS Roce Make Peas ae pet oeinet 9:51:50 Besc

ital Mal coleticlalepMeomtelcti (Lian (e]0 Merton

?Debtor 1 Linda M. Veerkamp
First Name Middia Name Last Name

Debtor 2 ee
(Spouse ff, filing) First Name Middle Name Last Name

[Senne States Bankruptcy Court forthe: CENTRAL DISTRICT OF CALIFORNIA

| Case number 2:23-bk-17901
| (if known)

CO] Check if this is an
amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
ts needed, copy the Additional Page, fill it out, number the entries, and attach It to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?

CJ No, Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

BB Yes. Fill in all of the information below.

List All Secured Claims

2. List all secured clalms. |f a creditor has more than ons secured claim, list the creditor separately Column A Columa 8 Colemn ©
for each claim. If more than one creditor has a particular claim, Ilst tha other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the clalms In alphabetical order according to the creditor's name. Do not deduct the that supports this portion
/ value of collateral, clalm if any
24 Farmers and Merchants
'—" | Bank Describe the property that secures the clalm: $259,000.00 $1,200,000.00 $0.00
Creditor's Nama 18320 Regina Ave. Torrance, CA |
90504 Los Angeles County
. . the cial 7
302 Pine Ave. a * the date you file, the'clalm is: Check all that :
Long Beach »CA 90802 _ 1 Contingent i
Number, Strest, City, State & Zip Code O Uniiguidated
Oo Disputed
Who owes the debt? Check one. Nature of lien, Check all that apply.
Bl Debtor 1 only (1 An agreement you made (such as mortgage or secured
C1 dabtor 2 only barney
C1 Debtor 1 and Debtor 2 only oO Statutory flen (such as tax flan, mechanic's lien)
C Atteast one of the debtors and another =) Judgment lien from a lawsuit
C1] Check if this claim relates to a C2 Other {including a right to offset) petty epte lh eee
community debt |
Date debt was incurred Last 4 digits of acount number _
J

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 2
Case 228d TAN Onedda Fiandd VaMPia Encore 48:94.
2 Oped spe GG CAISTEA 4881 50°Besc

ebtor1 Linda M. Veerkamp Case number (known) = .2:23-bk-17901
First Name Middia Name Last Name
Ronald Pearlstein Profit
Sharing Describe the property that securas the claim: $418,869.66 $1,200,000.00 $0.00
Craditor’s Name 18320 Regina Ave. Torrance, CA
Pian Entrust #00393 90504 Los Angeles County
clo Danco
2476 Overland Ave., As of the date you file, the claim fs: Check all that
: : apply,
Suite 203 oO
Contingant
Los Angeles, CA 90064 me
Number, Street, City, Stats & Zip Code 0 unliquidated
Cl visputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
BB pebtor 4 only (1 An agreement you made (such as mortgage or sacured
C1 Debtor 2 only chen)
(1 bebtor 1 and Debtor 2 only CO Statutory lien (such as tax lian, mechanic's llen}
7 At teast one of the debtors and another = Judgment lien from 2 lawsuit
C] Check if this clalm relates to a CD Other {including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
Add the dollar value of your entries In Column A on this page. Write that number here: $677,869.66
If this Is the last page of your form, add the dollar value totals from all pages. |
Write that number here: | $677,869.66

List Others to Be Notified for a Debt That You Already Listad

Use this page only If you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, If a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor In Part 1, and then list the collection agency here, Similarly, if you hava more
than one creditor for any of tha debts that you IIsted In Part 4, list the additional creditors here. if you do not have additional persons to be notified for any
debts In Part 1, do not fill out or submit this page. . ,

[]

Nama, Number, Street, City, State & Zip Code
Western Fidelity Trustees

1222 Crenshaw Bivd., Sulte B Last 4 diglis of account number __
Torrance, CA 90501

On which line in Part 1 did you anter the creditor? 2.2

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2
Case 2:23-bk-17901-VZ Doc 24 _ Filed 02/07/24 Entered 02/07/24 19:51:50 Desc
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EXHIBIT C
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THIS FORM iS NOT TO BE DUPLICATED

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Recorded/Filed in Official Records
Recorder's Office, Los Angeies County,
California
06/43/16 AT 08:00AM

FEES: 100.00

TAKES: 0.00
«OTHER: 0.00
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ORTC-

WHEN RECORDED MAIL TO:
Farmers and Merchants Bank of Long Beach
Attn: Lending Records
PO Box 21337
Long Beach, CA 90804-4337

a CSOO|ONK _- 7 0-270-02. 73-8 FOR RECORDER'S USE ONLY
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DEED OF TRUST

Variable interest Rate
Revolving Line of Credit

THIS DEED OF TRUST is dated May 4, 2016, among LINDA VEERKAMP, A SINGLE WOMAN, whose address
is 18320 REGINA AVENUE, TORRANCE, CA $0504 ("Trustor"); Farmers and Merchants Bank of Long Beach,
a CA Corp, whose address is Torrance Office, 22400 Hawthorne Bivd, Torrance, CA 90505 (referred to below
sometimes as “Lender” and sometimes as “Beneficiary"); and Farmers and Merchants Trust Company of Long
Beach, A California Corporation, whose address is PO Box 81, Long Beach, CA 90801 (referred to below as
“Trustee").

CONVEYANCE AND GRANT. For valuable consideration, Trustor irrevocably grants, transfers and assigns to
Trustee in trust, with power of sale, for the benefit of Lender as Beneficiary, all of Trustor's right, title, and
interest in and to the following described real property, together with all existing or subsequently erected or
affixed buildings, improvements and fixtures; all easements, rights of way, and appurtenances: ail water, water
fights and ditch rights (including stock in utilities with ditch or irrigation rights); and all other rights, royalties,
and profits relating to the real property, including without limitation all minerals, oil, gas, geothermal and similar
matters, (the “Real Property") located in LOS ANGELES County, State of California:

LOT 37 OF TRACT NO. 15933, IN THE CITY OF TORRANCE, COUNTY OF LOS ANGELES, STATE OF
CALIFORNIA, AS PER MAP RECORDED IN BOOK 347, PAGES 38 AND 39 OF MAPS, IN THE OFFICE OF
THE COUNTY RECORDER OF SAID COUNTY

The Real Property or its address is commonly known as 18320 REGINA AVENUE, TORRANCE, CA 90504.
The Assessor's Parcel Number for the Real Property is 4084-016-013.

REVOLVING LINE OF CREDIT. This Deed of Trust secures the Indebtedness including, without limitation, a
revolving line of credit, which obligates Lender to make advances to Trustor so jong as Trustor complies with
all the terms of the Credit Agreement. Notwithstanding the amount outstanding at any particular time, this
Deed of Trust secures the total amount of the Credit Agreement. The unpaid balance of the revolving line of
credit under the Credit Agreement may at certain times be Zero Dollars ($0.00). A zero balance does not
affect Lender's agreement to make advances to Trustor under the Credit Agreement. Therefore, Lender's
interest under this Deed of Trust will remain in full force and effect notwithstanding a zero balance on the
Credit Agreement. Such advances may be made, repaid, and remade from time to time, subject to the
limitation that the total outstanding balance owing at any one time, not including finance charges on such
balance at a fixed or variable rate or sum as provided in the Credit Agreement, any temporary overages, other
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DEED OF TRUST
Loan No: 16033151 (Continued) Page 2

charges, and any amounts expended or advanced as provided in either the indebtedness paragraph or this
paragraph, shali not exceed the Credit Limit as provided in the Credit Agreement. It is the intention of Trustor
and Lender that this Deed of Trust secures the balance outstanding under the Credit Agreement from time to
time from zero up to the Credit Limit as provided in the Credit Agreement and any intermediate balance.

Trustor presently assigns to Lender (aiso known as Beneficiary in this Deed of Trust) ail of Trustor's right, title,
and interest in and to ali present and future leases of the Property and all Rents from the Property. This is an
absolute assignment of Rents made in connection with an obligation secured by real property pursuant to
California Civil Code Section 2938. in addition, Trustor grants to Lender a Uniform Commercial Code security
interest in the Personal Property and Rents.

THIS DEED OF TRUST, INCLUDING THE ASSIGNMENT OF RENTS AND THE SECURITY INTEREST IN THE
RENTS AND PERSONAL PROPERTY, iS GIVEN TO SECURE (A) PAYMENT OF THE INDEBTEDNESS AND (8)
PERFORMANCE OF EACH OF TRUSTOR'S AGREEMENTS AND OBLIGATIONS UNDER THE CREDIT
AGREEMENT, THE RELATED DOCUMENTS, AND THIS DEED OF TRUST. THIS DEED OF TRUST IS GIVEN
AND ACCEPTED ON THE FOLLOWING TERMS:

PAYMENT AND PERFORMANCE. Except as otherwise provided in this Deed of Trust, Truster shall pay to
Lender all amounts secured by this Deed of Trust as they become due, and shall strictly and in a timely manner

perform all of Trustors obligations under the Credit Agreement, this Deed of Trust, and the Related
Documents.

POSSESSION AND MAINTENANCE OF THE PROPERTY. Trustor agrees that Trustor’s possession and use of
the Property shall be governed by the following provisions:

Possession and Use. Until the occurrence of an Event of Default, Trustor may (1) remain in possession
and control of the Property; (2) use, operate or manage the Property; and (3) collect the Rents from the
Property.

Duty to Maintain. Trustor shall maintain the Property in good condition and promptly perform all repairs,
replacements, and maintenance necessary to preserve its value. :

Compliance With Environmental Laws. Trustor represents and warrants to Lender that: (4) During the
period of Trustor's ownership of the Property, there has been no use, generation, manufacture, storage,
treatment, disposal, release or threatened release of any Hazardous Substance by any person on, under,
about or from the Property; (2) Trustor has no knowledge of, or reason to believe that there has been,
except as previously disclosed to and acknowledged by Lender in writing, (a) any breach or violation of
any Environmental Laws, (b) any use, generation, manufacture, storage, treatment, disposal, release or
threatened release of any Hazardous Substance on, under, about or from the Property by any prior owners
or occupants of the Property, or {¢) any actual or threatened litigation or claims of any kind by any person
relating to such matters; and (3) Except as previously disclosed to and acknowledged by Lender in
writing, (a) neither Trustor nor any tenant, contractor, agent or other authorized user of the Property shall
use, generate, manufacture, store, treat, dispose of or release any Hazardous Substance on, under, about
or from the Property; and (b) any such activity shall be conducted in compliance with all applicable
federal, state, and local laws, regulations and ordinances, including without limitation all Environmental
Laws. Trustor authorizes Lender and its agents to enter upon the Property to make such inspections and
tests, at Trustor's expense, as Lender may deem appropriate to determine compliance of the Property with
this section of the Deed of Trust. Any inspections or tests made by Lender shail be for Lender's purposes
only and shall not be construed to create any responsibility or liability on the part of Lender to Trustor or to
any other person. The representations and warranties contained herein are based on Trustors due
diligence in investigating the Property for Hazardous Substances. Trustor hereby (1) releases and waives
any future claims against Lender for indemnity or contribution in the event Trustor becomes liable for
cleanup or other costs under any such laws; and (2) agrees to indemnify, defend, and hold harmless
Lender against any and all claims, iosses, liabilities, damages, penalties, and expenses which Lender may
directly or indirectly sustain or suffer resulting from a breach of this section of the Deed of Trust or as a
consequence of any use, generation, manufacture, storage, disposal, release or threatened release
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DEED OF TRUST
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occurring prior to Trustor's ownership or interest in the Property, whether or not the same was or should
have been known to Trustor. The provisions of this section of the Deed of Trust, including the obligation
to indemnify and defend, shall survive the payment of the Indebtedness and the satisfaction and
reconveyance of the lien of this Deed of Trust and shall not be affected by Lender's acquisition of any
interest in the Property, whether by foreciosure or otherwise.

Nuisance, Waste. Trustor shall not cause, conduct or permit any nuisance nor commit, permit, or suffer
any stripping of or waste on or to the Property or any portion of the Property. Without limiting the
generality of the foregoing, Trustor will not remove, or grant to any other party the right to remove, any
timber, minerais (inciuding oil and gas), coal, clay, scoria, soil, gravel or rock products without Lender's
prior written consent.

Removal of improvements. Trustor shall not demolish or remove any Improvements from the Real Property
without Lender's prior written consent. As a condition to the removal of any improvements, Lender may
require Trustor to make arrangements satisfactory to Lender to replace such Improvements with
improvements of at least equal value.

Lender's Right te Enter. Lender and Lender's agents and ftepresentatives may enter upon the Real Property
at all reasonable times to attend to Lender's interests and to inspect the Real Property for purposes of
Trustor's compliance with the terms and conditions of this Deed of Trust.

Compliance with Governmental Requirements. Trustor shail promptly comply with all laws, ordinances, and
regulations, now or hereafter in effect, of all governmental authorities applicable to the use or occupancy of
the Property. Trustor may contest in good faith any such law, ordinance, or regulation and withhoid
compliance during any proceeding, including appropriate appeals, so long as Trustor has notified Lender in
writing prior to doing so and so long as, in Lender's sole opinion, Lender's interests in the Property are not

jeopardized. Lender may require Trustor to post adequate security or a surety bond, reasonably
satisfactory to Lender, to protect Lender's interest.

Duty to Protect. Trustor agrees neither to abandon or leave unattended the Property. Trustor shail do ail
other acts, in addition to those acts set forth above in this section, which from the character and use of the
Property are reasonably necessary to protect and preserve the Property.

DUE ON SALE - CONSENT BY LENDER. Lender may, at Lender's option, deciare immediately due and payable
all sums secured by this Deed of Trust upon the sale or transfer, without Lender's prior written consent, of ali
or any part of the Real Property, or any interest in the Real Property. A “salé or transfer” means the
conveyance of Real Property or any right, titie or interest in the Real Property; whether legal, beneficial or
equitable; whether voluntary or involuntary: whether by outright sale, deed, installment sale contract, tand
contract, contract for deed, leasehold interest with a term greater than three (3) years, iease-option contract, or
by sale, assignment, or transfer of any beneficial interest in or to any land trust holding title to the Real
Property, or by any other method of conveyance of an interest in the Real Property. However, this option shall
not be exercised by Lender if such exercise is prohibited by applicabie law.

TAXES AND LIENS. The following provisions relating to the taxes and liens on the Property are part of this
Deed of Trust:

Payment. Trustor shall pay when due (and in all events at jeast ten (10) days prior to delinquency) ail
taxes, special taxes, assessments, charges {inciuding water and sewer), fines and impositions levied
against or on account of the Property, and shall pay when due ail claims for work done on or for services
rendered or material furnished to the Property. Trustor shall maintain the Property free of ali liens having
priority over or equal to the interest of Lender under this Deed of Trust, except for the lien of taxes and
assessments not due and except as otherwise provided in this Deed of Trust.

Right to Contest. Trustor may withhold payment of any tax, assessment, or claim in connection with a
good faith dispute over the obligation to pay, so long as Lender's interest in the Property is not jeopardized.
If a lien arises or is filed as a result of nonpayment, Truster shall within fifteen (15) days after the lien
arises or, if a lien is filed, within fifteen (15) days after Trustor has notice of the filing, secure the discharge

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DEED OF TRUST
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of the lien, or if requested by Lender, deposit with Lender cash or a sufficient corporate surety bond or
other security satisfactory to Lender in an amount sufficient to discharge the lien plus any costs and
attorneys’ fees, or other charges that could accrue as a result of a foreclosure or sale under the lien. in
any contest, Trustor shall defend itself and Lender and shall satisfy any adverse judgment before
enforcement against the Property. Trustor shall name Lender as an additional obligee under any surety
bond furnished in the contest proceedings. i

Evidence of Payment. Trustor shall upon demand furnish to Lender satisfactory evidence of payment of the
taxes or assessments and shall authorize the appropriate governmental official to deliver to Lender at any
time a written statement of the taxes and assessments against the Property.

Notice of Construction. Trustor shall notify Lender at least fifteen (15) days before any work is
commenced, any services are furnished, or any materials are supplied to the Property, if any mechanic's
lien, materialmen's lien, or other lien could be asserted on account of the work, services, or materials.
Trustor will upon request of Lender furnish to Lender advance assurances satisfactory to Lender that
Trustor can and will pay the cost of such improvements. i

PROPERTY DAMAGE INSURANCE. The following provisions relating to insuring the Property are a part of this
Deed of Trust.

Maintenance of insurance. Trustor shall procure and maintain policies of fire insurance with standard
extended coverage endorsements on a replacement basis for the full insurable value covering all
improvements on the Real Property in an amount sufficient to avoid application of any coinsurance clause,
and with a standard mortgagee clause in favor of Lender, together with such other hazard and liability
insurance as Lender may reasonably require. Notwithstanding the foregoing, in no event shall Trustor be
required to provide hazard insurance in excess of the replacement value of the improvements on the Real
Property. Policies shall be written in form, amounts, coverages and basis reasonably acceptable to Lender
and issued by a company or companies reasonably acceptable to Lender. Trustor, upon request of Lender,
will deliver to Lender from time to time the policies or certificates of insurance in form satisfactory to
Lender, including stipulations that coverages will not be cancelled or diminished without at jeast thirty (30)
days prior written notice to Lender. Each insurance policy also shall include an endorsement providing that
coverage in favor of Lender will not be impaired in any way by any act, omission or default of Trustor or
any other person. Should the Real Property be located in an area designated by the Administrator of the
Federal Emergency Management Agency as a special flood hazard area, Trustor agrees to obtain and
maintain Federal Fiood Insurance, if available, within 45 days after notice is given by Lender that the
Property is located in a special flood hazard area, for the maximum amount of Trustor's credit line and the
full unpaid principal balance of any prior liens on the property securing the loan, up to the maximum policy
limits set under the National Flood Insurance Program, or as otherwise required by Lender, and to maintain
such insurance for the terrn of the loan.

Application of Proceeds. Trustor shall promptly notify Lender of any loss or damage to the Property.
Lender may make proof of loss if Trustor fails to do so within fifteen (4 5) days of the casualty. If in
Lender's sole judgment Lender's security interest in the Property has been impaired, Lender may, at
Lender's election, receive and retain the proceeds of any insurance and apply the proceeds to the reduction
of the Indebtedness, payment of any lien affecting the Property, or the restoration and repair of the
Property. If the proceeds are to be applied to restoration and repair, Trustor shall repair or replace the
damaged or destroyed improvernents in a manner Satisfactory to Lender. Lender shail, upon satisfactory
proof of such expenditure, pay or reimburse Trustor from the proceeds for the reasonable cost of repair or
restoration if Trustor is not in default under this Deed of Trust. Any proceeds which have not been
disbursed within 180 days after their receipt and which Lender has not committed to the repair or
restoration of the Property shall be used first to pay any amount owing to Lender under this Deed of Trust,
then to pay accrued interest, and the remainder, if any, shall be applied to the principal balance of the
Indebtedness. If Lender hoids any proceeds after payment in full of the Indebtedness, such proceeds shail
be paid to Trustor as Trustor's interests may appear. :

LENDER'S EXPENDITURES. If Trustor fails (A) to keep the Property free of all taxes, liens, security interests,
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DEED OF TRUST
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encumbrances, and other claims, (8) to provide any required insurance on the Property, or (C) to make
repairs to the Property then Lender may do so. ff any action or proceeding is commenced that would materially
affect Lender's interests in the Property, then Lender on Trustor’s behalf may, but is not required to, take any
action that Lender believes to be appropriate to protect Lender's interests. Ali expenses incurred or paid by
Lender for such purposes will then bear interest at the rate charged under the Credit Agreement from the date
incurred or paid by Lender to the date of repayment by Trustor. Ail such expenses will become a part of the
indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the balance of the
Credit Agreement and be apportioned among and be payable with any installment payments to become due
during either (1) the term of any applicabie insurance policy; or (2) the remaining term of the Credit
Agreement or (C) be treated as a balloon payment which will be due and payabie at the Credit Agreement's
maturity. The Deed of Trust also will secure payment of these amounts. The rights provided for in this
paragraph shall be in addition to any other rights or any remedies to which Lender may be entitled on account
of any default. Any such action by Lender shall not be construed as curing the default so as to bar Lender
from any remedy that it otherwise would have had. ‘

WARRANTY; DEFENSE OF TITLE. The following provisions relating to ownership of the Property are a part of
this Deed of Trust:

Title. Trustor warrants that’ (a) Truster holds good and marketable title of record to the Property in fee
simple, free and clear of all liens and encumbrances other than those set forth in the Real Property
description or in any title insurance policy, title report, or final title opinion issued in favor of, and accepted
by, Lender in connection with this Deed of Trust, and (b) Trustor has the full right, power, and authority to
execute and deliver this Deed of Trust to Lender.

Defense of Title. Subject to the exception in the paragraph above, Trustor warrants and will forever defend
the title to the Property against the lawful ciaims of all persons. in the event any action or proceeding is
commenced that questions Trustor's title or the interest of Trustee or Lender under this Deed of Trust,
Trustor shall defend the action at Trustor’s expense. Trustor may be the nominal party in such proceeding,
but Lender shall be entitled to participate in the proceeding and to be represented in the proceeding by
counsel of Lender's own choice, and Trustor will deliver, or cause to be delivered, to Lender such
instruments as Lender may request from time to time to permit such participation.

Compliance With Laws. Trustor warrants that the Property and Trustor’s use of the Property complies with
all existing applicable laws, ordinances, and regulations of governmental! authorities.

Survival of Promises. Ali promises, agreements, and staternents Trustor has made in this Deed of Trust
shall survive the execution and delivery of this Deed of Trust, shali be continuing in nature and shail remain
in full force and effect until such time as Trustor's Indebtedness is paid in full.

CONDEMNATION. The following provisions relating to eminent domain and inverse condemnation proceedings
are a part of this Deed of Trust:

Proceedings. if any eminent domain or inverse condemnation proceeding is commenced affecting the
Property, Trustor shall promptly notify Lender in writing, and Trustor shall promptly take such steps as may
be necessary to pursue or defend the action and obtain the award. Trustor may be the nominal party in
any such proceeding, but Lender shall be entitied, at its election, to participate in the proceeding and to be
represented in the proceeding by counsel of its own choice, and Trustor will deliver or cause to be
delivered to Lender such instruments and documentation as may be requested by Lender from time to time
to permit such participation. i

Application of Net Proceeds. if any award is made or settlement entered into in any condemnation
proceedings affecting all or any part of the Property or by any proceeding or purchase in lieu of
condemnation, Lender may at its election, and to the extent permitted by law, require that all or any portion
of the award or settlement be applied to the Indebtedness and to the repayment of all reasonable costs,

expenses, and attorneys’ fees incurred by Trustee or Lender in connection with the condemnation
proceedings.
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DEED OF TRUST
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IMPOSITION OF TAXES, FEES AND CHARGES BY GOVERNMENTAL AUTHORITIES. The following provisions
reiating to governmental taxes, fees and charges are a part of this Deed of Trust:

Current Taxes, Fees and Charges. Upon request by Lender, Trustor shall execute such documents in
addition to this Deed of Trust and take whatever other action is requested by Lender to perfect and
continue Lender's lien on the Real Property. Trustor shall reimburse Lender for all taxes, as described
below, together with ail expenses incurred in recording, perfecting or continuing this Deed of Trust,
including without limitation all taxes, fees, documentary stamps, and other charges for recording or
registering this Deed of Trust.

Taxes. The following shall constitute taxes to which this section applies: (1) a specific tax upon this type
of Deed of Trust or upon ail or any part of the Indebtedness secured by this Deed of Trust; (2) a specific
tax on Trustor which Trustor is authorized or required to deduct from payments on the indebtedness
secured by this type of Deed of Trust; (3) a tax on this type of Deed of Trust chargeable against the
Lender or the hoider of the Credit Agreement, and (4) a specific tax on all or any portion of the
indebtedness or on payments of principai and interest made by Trustor.

Subsequent Taxes. if any tax to which this section applies is enacted subsequent to the date of this Deed
of Trust, this event shail have the same effect as an Event of Default, and Lender may exercise any or all of
its available remedies for an Event of Default as provided below unless Trustor either (1) pays the tax
before it becornes delinquent, or (2) contests the tax as provided above in the Taxes and Liens section
and deposits with Lender cash or a sufficient corporate surety bond or other security satisfactory to
Lender.

SECURITY AGREEMENT; FINANCING STATEMENTS. The following provisions relating to this Deed of Trust as
a security agreement are a part of this Deed of Trust:

Security Agreement. This instrument shall constitute a Security Agreement to the extent any of the
Property constitutes fixtures, and Lender shall have ail of the rights of a secured party under the Uniform
Commercial Code as amended from tirne to time.

Security Interest. Upon request by Lender, Trustor shall take whatever action is requested by Lender to
perfect and continue Lender's security interest in the Personal Property. Trustor shall reimburse Lender for
all expenses incurred in perfecting or continuing this security interest. Upon default, Trustor shall not
remove, sever or detach the Personal Property from the Property. Upon default, Trustor shall assembie any
Personal Property not affixed to the Property in a manner and at a place reasonably convenient to Trustor
and Lender and make it availabie to Lender within three (3) days after receipt of written demand from
Lender to the extent permitted by applicable iaw. i

Addresses. The mailing addresses of Trustor (debtor) and Lender (secured party) from which information
concerning the security interest granted by this Deed of Trust may be obtained (each as required by the
Uniform Commercial Code) are as stated on the first page of this Deed of Trust.

FURTHER ASSURANCES; ATTORNEY-IN-FACT. The following provisions relating to further assurances and
attorney-in-fact are a part of this Deed of Trust: i

Further Assurances. At any time, and from time te time, upon request of Lender, Trustor will make,
execute and deliver, or will cause to be made, executed or delivered, to Lender or to Lender's designee, and
when requested by Lender, cause to be filed, recorded, refiled, or rerecorded, as the case may be, at such
times and in such offices and piaces as Lender may deem appropriate, any and ail such mortgages, deeds
of trust, security deeds, security agreements, financing statements, continuation statements, instruments
of further assurance, certificates, and other documents as may, in the sole opinion of Lender, be necessary
or desirable in order to effectuate, complete, perfect, continue, or preserve (1) Trustor's obligations
under the Credit Agreement, this Deed of Trust, and the Related Documents, and (2) the liens and
security interests created by this Deed of Trust as first and prior liens on the Property, whether now owned
or hereafter acquired by Trustor. Unless prohibited by law or Lender agrees to the contrary in writing,
Trustor shall reimburse Lender for all costs and expenses incurred in connection with the matters referred
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to in this paragraph.

Attorney-in-Fact. if Trustor fails to do any of the things referred to in the preceding paragraph, Lender may
do so for and in the name of Trustor and at Trustor’s expense. For such purposes, Trustor hereby
ievocably appoints Lender as Trustor's attorney-in-fact for the purpose of making, executing, delivering,
filing, recording, and doing all other things as may be necessary or desirable, in Lender's sole opinion, to
accomplish the matters referred to in the preceding paragraph.

FULL PERFORMANCE. if Trustor pays all the indebtedness when due, terminates the credit line account, and
otherwise performs all the obligations imposed upon Trustor under this Deed of Trust, Lender shall execute and
deliver to Trustee a request for full reconveyance and shall execute and deliver to Trustor suitable statements
of termination of any financing statement on file evidencing Lender's security interest in the Rents and the
Personal Property. Lender may charge Trustor a reasonable reconveyance fee at the time of reconveyance.

EVENTS OF DEFAULT. Trustor will be in default under this Deed of Trust if any of the following happen: (A)
Trustor commits fraud or makes a material misrepresentation at any time in connection with the Credit
Agreement. This can include, for example, a false staternent about Trustor's income, assets, liabilities, or any
other aspects of Trustor’s financial condition. (B) Trustor does not meet the repayment terms of the Credit
Agreement. (C) Trustor’s action or inaction adversely affects the collateral or Lender's rights in the collateral,
This can include, for example, failure to maintain required insurance, waste or destructive use of the dwelling,
failure to pay taxes, death of all persons liable on the account, transfer of title or sale of the dwelling, creation
of a senior lien on the dwelling without Lender's permission, foreclosure by the holder of another lien, or the
use of funds or the dwelling for prohibited purposes.

RIGHTS AND REMEDIES ON DEFAULT. If an Event of Default occurs under this Deed of Trust, at any time
thereafter, Trustee or Lender may exercise any one or more of the following rights and remedies:

Election of Remedies. Ali of Lender's rights and remedies will be curnulative and may be exercised alone or
together. An election by Lender to choose any one remedy will not bar Lender from using any other
remedy. if Lender decides to spend money or to perform any of Trustor's obligations under this Deed of
Trust, after Trustor's failure to do so, that decision by Lender will not affect Lender's right to declare
Trustor in default and to exercise Lender's remedies.

Foreclosure by Sale. Upon an Event of Default under this Deed of Trust, Beneficiary may deciare the entire
indebtedness secured by this Deed of Trust immediately due and payable by delivery to Trustee of written
declaration of default and demand for sale and of written notice of default and of election to cause to be
soid the Property, which notice Trustee shall cause to be filed for record. Beneficiary aiso shail deposit
with Trustee this Deed of Trust, the Credit Agreement, other documents requested by Trustee, and all
documents evidencing expenditures secured hereby. After the lapse of such time as may then be required
by law following the recordation of the notice of default, and notice of sale having been given as then
tequired by law, Trustee, without demand on Trustor, shall sell the Property at the time and place fixed by
it in the notice of sale, either as a whole or in separate parcels, and in such order as it may determine, at
public auction to the highest bidder for cash in lawful money of the United States, payable at time of sale.
Trustee may postpone sale of all or any portion of the Property by public announcement at such time and
place of sale, and from time to time thereafter May postpone such sale by public announcement at the time
fixed by the preceding postponement in accordance with applicable law. Trustee shall deliver to such
purchaser its deed conveying the Property so sold, but without any covenant or warranty, express or
implied. The recitals in such deed of any matters or facts shall be conclusive proof of the truthfulness
thereof. Any person, including Trustor, Trustee or Beneficiary may purchase at such sale. After deducting
all costs, fees and expenses of Trustee and of this Trust, including cost of evidence of title in connection
with sale, Trustee shall apply the proceeds of sale to payment of: ail sums expended under the terms
hereof, not then repaid, with accrued interest at the ammount allowed by law in effect at the date hereof: all
other sums then secured hereby: and the remainder, if any, to the person or persons legally entitled
thereto.

Judicial Foreclosure. With respect to all or any part of the Real Property, Lender shall have the right in lieu

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of foreclosure by power of sale to foreclose by judicial foreclosure in accordance with and to the full extent
provided by California law.

UCC Remedies. With respect to ail or any part of the Personal Property, Lender shail have ail the rights and
remedies of a secured party under the Uniform Commercial Cade, including without limitation the right to
recover any deficiency in the manner and to the full extent provided by California law.

Collect Rents. Lender shall have the right, without notice to Trustor to take possession of and manage the
Property and collect the Rents. including amounts past due and unpaid, and apply the net proceeds, over
and above Lender's costs, against the Indebtedness. in furtherance of this right, Lender may require any
tenant or other user of the Property to make payments of rent or use fees directly to Lender. If the Rents
are collected by Lender, then Trustar irrevocably designates Lender as Trustor's attorney-in-fact to endorse
instruments received in payment thereof in the name of Trustor and to negotiate the same and collect the
proceeds. Payments by tenants or other users to Lender in response to Lender's demand shall satisfy the
obligations for which the payments are made, whether or not any proper grounds for the demand existed.
Lender may exercise its rights under this subparagraph either in person, by agent, or through a receiver.

Appoint Receiver. Lender shall have the tight to have a receiver appointed to take possession of all or any
part of the Property, with the power to protect and preserve the Property, to operate the Property
preceding foreclosure or sale, and to collect the Rents from the Property and apply the proceeds, over and
above the cost of the receivership, against the indebtedness. The receiver may serve without bond if
permitted by law. Lender's right to the appointment of a receiver shail exist whether or not the apparent
value of the Property exceeds the Indebtedness by 4 substantial amount. Employment by Lender shail not
disqualify a person from serving as a receiver.

Tenancy at Sufferance. if Trustor remains in possession of the Property after the Property is sold as
provided above or Lender otherwise becomes entitied to possession of the Property upon default of
Trustor, Trustor shall become a tenant at sufferance of Lender or the purchaser of the Property and shall, at
Lender's option, either (1) pay a reasonable rental for the use of the Property, or (2) vacate the Property
immediately upon the demand of Lender. :

Other Remedies. Trustee or Lender shall have any other right or remedy provided in this Deed of Trust or
the Credit Agreement or available at law or in equity.

Notice of Sale. Lender shall give Trustor reasonable notice of the time and place of any public sale of the
Personal Property or of the time after which any private sale or other intended disposition of the Personal
Property is to be made. Reasonabie notice shall mean notice given at least ten (10) days before the time of :
the sale or disposition. Any sale of the Personal Property may be made in conjunction with any sale of the i
Real Property, E

Sale of the Property. To the extent permitted by applicable law, Trustor hereby waives any and ail rights to
have the Property marshalled. in exercising its rights and remedies, the Trustee or Lender shall be free to
sell ail or any part of the Property together or separately, in one sale or by separate sales. Lender shail be
entitled to bid at any public sale on al! or any portion of the Property. :

Attorneys’ Fees; Expenses. If Lender institutes any suit or action to enforce any of the terms of this Deed
of Trust, Lender shail be entitled to recover such sum as the court may adjudge reasonable as attorneys’ :
fees at trial and upon any appeal. Whether or not any court action is involved, and to the extent not e
prohibited by law, all reasonable @xpenses Lender incurs that in Lender's opinion are necessary at any time 2
for the protection of its interest or the enforcement of its rights shall become a part of the Indebtedness

under applicable law, Lender's attorneys’ fees and Lender's legal expenses, whether or not there is a
lawsuit, including attorneys’ fees and expenses for bankruptcy proceedings (including efforts to modify or
vacate any automatic stay or injunction), appeais, and any anticipated post-judgment collection services.
the cost of searching records, obtaining title reports (including foreclosure reports), surveyors’ reports, and
appraisal fees, title insurance, and fees for the Trustee, to the extent permitted by applicable law. Trustor

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also will pay any court costs, in addition to all other sums provided by law.
Rights of Trustee. Trustee shall have all of the rights and duties of Lender as set forth in this section.

POWERS AND OBLIGATIONS OF TRUSTEE. The following provisions relating to the powers and obligations of
Trustee are part of this Deed of Trust:

Powers of Trustee. in addition to all powers of Trustee arising as a matter of law, Trustee shall have the
power to take the following actions with respect to the Property upon the written request of Lender and
Trustor: (a) join in preparing and filing a map or plat of the Real Property, including the dedication of
streets or other rights to the public; (6) join in granting any easement or creating any restriction on the
Real Property; and {c) join in any subordination or other agreement affecting this Deed of Trust or the
interest of Lender under this Deed of Trust.

Obligations to Notify. Trustee shali not be obligated to notify any other party of a pending sale under any
other trust deed or fien, or of any action or proceeding in which Trustor, Lender, or Trustee shall be a
party, unless the action or proceeding is brought by Trustee.

Trustee. Trustee shall meet al! qualifications required for Trustee under applicable law. In addition to the
rights and remedies set forth above, with respect to ail or any part of the Property, the Trustee shall have
the right to foreclose by notice and sale, and Lender will have the right to foreclose by judicial foreclosure,
in either case in accordance with and to the full extent provided by applicable law.

Successor Trustee. Lender, at Lender's option, may from time to time appoint a successor Trustee to any
Trustee appointed under this Deed of Trust by an instrument executed and acknowledged by Lender and
recorded in the office of the recorder of LOS ANGELES County, State of California. The instrument shall
contain, in addition to all other matters required by state law, the names of the original Lender, Trustee,
and Trustor, the book and page where this Deed of Trust is recorded, and the name and address of the
Successor trustee, and the instrument shall be executed and acknowledged by Lender or its successors in
interest. The successar trustee, without conveyance of the Property, shall succeed to all the title, power,
and duties conferred upon the Trustee in this Deed of Trust and by applicable law. This procedure for
Substitution of Trustee shall govern to the exclusion of all other provisions for substitution.

Acceptance by Trustee. Trustee accepts this Trust when this Deed of Trust, duly executed and
acknowledged, is made 4 public record as provided by i :

NOTICES. Any notice required to be given under this Deed of Trust shail be given in writing, and shall be
effective when actually delivered, when actually received by telefacsimile (unless otherwise required by iaw),
when deposited with a nationally recognized overnight courier, or, if mailed, when. deposited in the United
States mail, as first class, certified or registered mail postage prepaid, directed to the addresses shown near
the beginning of this Deed of Trust. Trustor requests that copies of any notices of default and sale be directed
to Trustor's address shown near the beginning of this Deed of Trust. Ali copies of notices of foreciosure from
the holder of any lien which has priority over this Deed of Trust shall be sent to Lender's address, as shown
near the beginning of this Deed of Trust. Any person may change his or her address for notices under this
Deed of Trust by giving formal written notice to the other person oF persons, specifying that the purpose of the
notice is to change the person's address. For notice purposes, Trustor agrees to keep Lender informed at all
times of Trustor's current address. Unless otherwise provided or required by law, if there is more than one
Trustor, any notice given by Lender to any Trustor is deemed to be notice given to all Trustors. it will be
Trustor’s responsibility to tell the others of the notice from Lender. :

STATEMENT OF OBLIGATION FEE. Lender may collect a fee, not to exceed the maximum amount permitted
by law, for furnishing the statement of obligation as provided by Section 2943 of the Civil Code of California.

FLOOD INSURANCE POLICY REVIEW. if a private flood insurance policy is obtained to meet flood insurance
requirements at any time during the term of the Note, a fee may be charged to review the policy. A fee may
also be charged in connection with renewals and/or changes to the policy,

MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Deed of Trust:

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Amendments. What is written in this Deed of Trust and in the Related Documents is Trustor's entire
agreement with Lender concerning the matters covered by this Deed of Trust. To be effective. any change
or amendment to this Deed of Trust must be in writing and must be signed by whoever will be bound or
obligated by the change or amendment. :

Caption Headings. Caption headings in this Deed of Trust are for convenience purposes only and are not to
be used to interpret or define the provisions of this Deed of Trust.

Merger. There shall be no merger of the interest or estate created by this Deed of Trust with any other

interest or estate in the Property at any time held by or for the benefit of Lender in any capacity, without
the written consent of Lender.

Governing Law. This Deed of Trust will be governed by federal law applicable to Lender and, to the extent
not preempted by federal law, the laws of the State of California without regard to its conflicts of law
provisions. This Deed of Trust has bean accepted by Lender in the State of California.

Choice of Venue. If there is a lawsuit, Trustor agrees upon Lender's request to submit to the jurisdiction of
the courts of Los Angeles County, State of California.

No Waiver by Lender. Trustor understands Lender will not give up any of Lender's rights under this Deed
of Trust unless Lender does so in writing. The fact that Lender delays or omits to exercise any night will
not mean that Lender has given up that fight. If Lender does agree in writing to give up cone of Lender's
rights, that does not mean Trustor will not have to comply with the other provisions of this Deed of Trust.
Trustor also understands that if Lender does consent to a request, that does not mean that Trustor will not :
have to get Lender's consent again if the situation happens again. Trustor further understands that just .
because Lender consents to one or more of Trustor’s requests, that does not mean Lender will be required

to consent to any of Trustor's future requests. Trustor waives presentment, demand for payment, protest,
and notice of dishonor. :

Severability. !f a court finds that any provision of this Deed of Trust is nat valid or should not be enforced,
that fact by itself will not mean that the rest of this Deed of Trust will not be valid or enforced. Therefore,
& court will enforce the rest of the provisions of this Deed af Trust even if a provision of this Deed of Trust
may be found to be invalid or unenforceable.

Successors and Assigns. Subject to any limitations stated in this Deed of Trust on transfer of Trustor's
interest, this Deed of Trust shall be binding upon and inure to the benefit of the parties, their successors
and assigns. If ownership of the Property becomes vested in a person other than Trustor, Lender, without
notice to Trustor, may deal with Trustor's Successors with reference to this Deed of Trust and the
Indebtedness by way of forbearance or extension without releasing Trustor from the obligations of this
Deed of Trust or liability under the Indebtedness.

Time is of the Essence. Time is of the essence in the performance of this Deed of Trust.

DEFINITIONS. The following words shall have the following meanings when used in this Deed of Trust:

Beneficiary. The word “Beneficiary” means Farmers and Merchants Bank of Long Beach, a CA Corp, and E
its successors and assigns. :

Borrower. The word “Borrower” means LINDA VEERKAMP and includes ail co-signers and co-makers
Signing the Credit Agreement and all their Successors and assigns. :

Credit Agreement. The words “Credit Agreement" mean the credit agreement dated May 4, 2016, with
credit limit of $250,000.00 from Trustor to Lender, together with all renewals of, extensions of,
modifications of, refinancings of, consolidations of, and substitutions for the promissory note or agreement.
NOTICE TO TRUSTOR: THE CREDIT AGREEMENT CONTAINS A VARIABLE INTEREST RATE.

Deed of Trust. The words “Deed of Trust mean this Deed of Trust among Trustor, Lender, and Trustee,
and includes without limitation ail assignment and security interest provisions telating to the Personal
Property and Rents.

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Act of 1986, Pub. L. No. 99-499 (SARA"), the Hazardous Materiais Transportation Act, 49 U.S.C.
Section 1801, et seq., the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901, et séq.,
Chapters 6.5 through 7.7 of Division 20 of the California Health and Safety Code, Section 25100, et seq.,
or other applicabie state or federal laws, rules, or regulations adopted pursuant thereto.

Event of Default. The words “Event of Default" mean any of the events of default set forth in this Deed of
Trust in the events of default section of this Deed of Trust.

potential hazard to human health or the environment when improperly used, treated, stored, disposed of, :

materials or waste as defined by or listed under the Environmental Laws. The term "Hazardous
Substances" aiso includes, without limitation, petroleum and petroleum by-products or any fraction thereof

improvements. The word “Improvements” means ail existing and future improvements, buildings,
Structures, mobile homes affixed on the Real Property, facilities, additions, feplacements and other
construction on the Real Property.

Indebtedness. The word "Indebtedness" means ail principal, interest, and other amounts, costs and
expenses payable under the Credit Agreement or Related Documents, together with all renewals of,
extensions of, modifications of, consolidations of and substitutions for the Credit Agreement or Related
Decuments and any amounts expended or advanced by Lender to discharge Trustor's obligations or
expenses incurred by Trustee or Lender to enforce Trustor's obligations under this Deed of Trust, together
with interest on such amounts as provided in this Deed of Trust.

Lender. The word “Lender” means Farmers and Merchants Bank of Long Beach, a CA Corp, its successors

and assigns. The words “successors or assigns” mean any person or company that acquires any interest
in the Credit Agreement. i

Personal Property. The words “Personal Property" mean all equipment, fixtures, and other articles of
personal property now or hereafter owned by Trustor, and now or hereafter attached or affixed to the Real
Property: together with all accessions, parts, and additions to, ail replacements of, and all substitutions for,
any of such property: and together with all proceeds (inciuding without limitation all insurance proceeds
and refunds of premiums) from any sale or other disposition of the Property.

Property. The word “Property” means collectively the Real Property and the Personal Property.

Real Property. The words “Real Property" mean the real property, interests and rights, as further described
in this Deed of Trust.

with the indebtedness: except that the words do not mean any guaranty or environmental agreement,
whether now or hereafter existing, executed in connection with the indebtedness. :

Rents. The word "Rents means all present and future leases, rents, revenues, income, issues, royalties,
profits, and other benefits derived from the Property together with the cash proceeds of the Rents.

Trustee. The word "Trustee" means Farmers and Merchants Trust Company of Long Beach, A California
Corporation, whose address is PO Box 891, Long Beach, CA 90801 and any substitute or successor

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trustees.

Trustor. The word “Trustor” means LINDA VEERKAMP.

TRUSTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS DEED OF TRUST, AND TRUSTOR

AGREES TO ITS TERMS, INCLUDING THE VARIABLE RATE PROVISIONS OF THE CREDIT AGREEMENT
SECURED BY THIS DEED OF TRUST.

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CERTIFICATE OF ACKNOWLEDGMENT

A notary public or other officer completing this certificate verifies only the identity of the individual who
signed the document to which this certificate is attached, and not the truthfulness, accuracy or validity of
that document.

state or Ca/ < Orch )
: ) ss
COUNTY OF Los Angtles )
On Ma ¥ Y . 20/6 _ before me, ft Up th, CW Ka kod 2 Samer
/ Notary Public {here insert name and title of the officer)

| certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is
true and correct.

Signature

iSeal)

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REQUEST FoR FULL RECONVEYANCE
(To be used only when obligations have been paid in full)

To: , Trustee

The undersigned is the legal owner and holder of aif indebtedness Secured by this Deed of Trust. Ali sums
Secured by this Deed of Trust have been fully paid and Satisfied. You are hereby directed, Upon payment to

Date Beneficiary: i
By: a
lts: ce

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EXHIBIT D
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EQUITYLINE CREDIT AGREEMENT AND DISCLOSURE

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Sees es
Refere! boxes above are for our use only and do not limit the applicability of this document to any particular loan or item.

Any item above containing ““**" has bean omitted due to text length limitations,

Borrower: LINDA VEERKAMP Lender: Farmers and Merchants Bank of Long Beach, a GA
18320 REGINA AVENUE Corp
TORRANGE, CA 90504 Torrance Office

22400 Hawthorne Bivd
Torrance, CA S050&

CREDIT LIMIT: $250,000.00 DATE OF AGREEMENT: May 4, 2016

introduction. This EquityLine Credit Agreement and Disclosure ("Agreement") govems your line of credit (the "Credit Line" or the “Credit Line
Account") Issued through Farmers and Merchants Bank of Long Beach, a GA Corp. Jn this Agreement, the words "Borrower," “you," “your,”
and “Applicant” mean each and every person who signs this Agreement, including all Borrowers named above. The words “we,” “us,” “our,”
"Beneficiary," and “Lender" mean Farmers and Merchants Bank of Long Beach, a GA Com. Yau agree to the following terms and conditions:

Promise to Pay, You promise to pay Farmers and Merchants Bank of Long Beach, a CA Carp, or order, the total of all credit advances and

FINANCE CHARGES, together with all costs and expanses for which you are responsible under thls Agreement or under the "Deed of Trust"
which secures your Credit Line, You will pay your Credit Line according to the payment tarms set forth below. [f there is more than one
Borrower, each Is jointly and severally liable on this Agreement. This means we can require any Borrower to pay all amounts dus under this
Agreement, including credit advances mada to any Borrower. Each Borrower authorizes any other Borrower, on his or har signature alone, to
cancel the Credit Line, to request and recelve credit advances, and to do all other things necessary to carry out the terms of this Agreement.
We can release any Borrower from responsibility under this Agreement, and the others will remain responsible.

Term. The term of your Credit Line will begin as of tha date of this Agreement ("Opening Date") and will continue until May 4, 2026 (“Maturity
Date"). All indebtedness under this Agreement, if net already paid pursuant to the payment provisions below, will be due and payable upon
maturity. The draw period of your Credit Line will begin on the later of May 9, 2016 or the recording of the Deed of Trust (the "Effective
Disbursement Date") and will continue as follows: for a period of one hundred and twenty (120) manths, not to exceed the maturity date. You
may obtain credit advances during this period (“Draw Period"). You agree that we may renew or extend the period during which you may obtain
credit advances or make payments, You further agree that we may renew or extend your Credit Line Account.

Minimum Payment. Your “Regular Payment* will equal the amount of your accrued FINANGE CHARGES or $100.00, whichever is greater. You
will make 119 of these payments. You will then be required to pay the entire balance owing In a single ballaon payment. If you make only the
minimum payments, you may not repay any of the principal balance by the end of this payment stream. Your payments will be due monthly.
Your "Minimum Payment" will be the Regular Payment, plus any amount past due and all ather charges. An increase in the ANNUAL
PERCENTAGE RATE may increase the amount of your Regular Payment. You agree to pay not less than the Minimum Payment on or before the
due date indicated on your periodic billing statement.

Balloon Payment. Your Credit Line Account is payable in full upon maturity In a single balloon payment. You must pay the entire outstanding
principal, Interest and any other charges then due. Uniess otherwise required by applicable law, we ara under no obligation to refinance the
balloon payment at that time. You may be required to make payments out of other assets you own ar find a lender, which may be us, willing to
lend you the money. If you refinance the balloan payment, you may have to pay seme or all of the closing costs normally assoclated with a new
credit line account, even if you obtain refinancing from us.

How Your Payments Are Applied. Uniess otherwise agreed or required by applicable Jaw, payments and other credits will be applied to Finance
Charges, then to Late Charges, then to Unpald Principal, and then to Other Fees and Charges.

Receipt of Payments. All payments must be made in U.S. dollars and must be received by us consistent with any payment instructions provided
on or with your perlodic billing statement. If a payment is made consistent with our payment instructions but received after 5:00 P.M. Pacific
Time on a business day, we will apply your payment to your Credit Line on the next businass day.

Credit Limit, This Agreement covers a revolving line of credit for the principal amount of Two Hundred Fifty Thousand & 00/400 Dollars
($250,000.00), which will be your "Gredit Limit" under thls Agreement. Durlng the Draw Perlod we will honor your request for credit advances
subject to the section below on Lender's Rights. You may borrow against the Gredit Line, repay any portion of the amount borrowed, and
re-borrow up to the amount of the Credit Limit. Your Credit Limit is the maximum amaunt you may have outstanding at any one time. You
agree not to attempt, request, or obtain a credit advance that will make your Credit Line Account balance exceed your Credit Limit. Your Credit
Limit will not be increased should you overdraw your Credit Line Account. Hf you exceed your Credit Limit, you agree to repay immediately the
amount by which your Credit Line Account exceeds your Credit Limit, even If we have nat yet billed you. Any credit advances in excess of your
Credit Limit will not be secured by the Deed of Trust covering your principal dwelling.

Charges to your Credit Line. We may charge your Credit Line to pay other fees and costs that you are obligated to pay under this Agreement,
the Deed of Trust or any other document related to your Credit Line. in addition, we may charge your Credit Line for funds required for
continuing Insurance coverage as described tn fhe paragraph titled "Insurance" below or as described in the Deed of Trust for this transaction.
We may also, at our option, charge your Credit Lina ta pay any costs or expenses to protect or perfect our security interest In your principal
dwelling. These costs or expenses include, without limitation, payments to cure defaults under any axisting liens on your principal dwelling. If
you do not pay your property taxes, we may charge your Credit Line and pay the delinquent taxes, Any amount so charged to your Credit Line
Will be a eredit advance and will decrease the funds available, if any, under the Credit Line. However, we have no obligation to provide any of
the credit advances referred to in this paragraph.

Credit Advances. Beginning on the Effective Disbursement Date of this Agreement, yau may obtain credit advances under your Credit Line as
follows:

Credit Ling Checks. Writing a preprinted “EquityLine Check" that we will supply to you,

Telephone Request. Requesting a credit advance from your Credit Line to be applied to your designated account by telephone. Except for
transactions covered by the federal Electronic Fund Transfers Act and unlass otherwise agreed in your deposit account agreement, you
acknowledge and you agree that we do not accept responsibility for the authenticity of telephone instructions and that we will not he liable
for any toss, expense, or cost arising out of any telephone request, Including any fraudulent or unauthorized telephone request, when acting
upon such Instructions believed to be genuine.

Requests By Mail. Requesting an advance by mail.
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EQUITYLINE CREDIT AGREEMENT AND DISCLOSURE
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Requests in Person, Requesting a credit advance in person at any of our authorized locations.

If there is more than one person authorlzad to use this Credit Line Account, you agrea not to give us conflicting instructions, such as one
Borrower telling us not to give advances to the other.

Limitations on the Use of Ghecks. We reserve the right not to honor Equityline Checks In the following circumstances:
Credit Limit Violation. Your Credit Limit has been or would be exceeded by paying the EquityLIne Check.

Post-dated Checks. Your Equityline Check is post-dated. If a post-dated Equityline Check |s paid and as a result any other check is
returned or not pald, we are not responsible.

Stolen Checks. Your EquityLine Checks have been reported lost or stolen,
Unauthorized Signatures. Your EquityLine Chack Is not signed by an “Authorized Signer’ as defined below.

Termination or Suspension. Yaur Credit LIne has been terminated or suspended as pravided in this Agreement or could be if we paid the
EgultyLine Check.

Transaction Violation, Your EquityLine Check is less than the minimum amount required by this Agreement or yau are in violation of any
other transaction requirement of would be if we paid the EquityLine Check.

If we pay any EquilyLine Check under these cenditlons, you must repay us, subject to applicable laws, for the amount of the EquityLine Check.
The EquityLine Check itself will be evidence of your debt to us together with this Agreement. Our liability, if any, for wrongful dishonor of a
check Is limitad to your actual damages. Dishonor for any reason as provided in this Agreement Is not wrongful dishonor. We may chaose not
to return EquityLine Checks along with your periadic billing statements; however, your use of each EquityLine Check will be reflected on your
periodic statement as a credit advance. We da not "certify" EquityLIne Checks drawn on your Credit Line.

Transaction Requirements. The following transaction limitations will apply to the use of your Credit Line:

Credit Line EquityLine Check, Telephone Request, Request By Mail and In Parson Request Limitations. The following transaction limitatians
will apply to your Credit Line and the writing of EquilyLine Checks, requesting an advance by telephone, requesting an advance by mail and
requesting an advance In person,

Minimum Advance Amount. The minimum amount of any credit advance that can be made on your Credit Line is $250.00. This
means any EquityLine Check must be written for atleast the minimum advance amount.

Limitation on All Access Devices, You may not usa any access device, whether described above ar added in the future, for any illegal or
unlawful wansactlon, and we may decline to authorize any transaction that we believe poses an undue risk of illegality or unlawfulness.
Notwithstanding the foregoing, we may collect on any debt arising out of any illegal or unlawful transaction,

Authorized Signers. The words “Authorized Signer" on EquityLine Checks as used In this Agreement mean and include each person who (a)

signs the application for this Credit Line, (6) signs this Agreement, or (c) has executed a saparate signature authorization card for the Credit
Line Account.

Lost EquityLine Checks. If you lose your EquitylLine Checks or if someone is using them without your permission, you agree to let us know
immediately, The fastest way to notify us ls by calling us at (662) 495-7710. You also can notify us at Farmers and Merchants Bank of Long
Beach PO Box 21337, Long Beach, CA 90801.

Future Credit Line Services. Your application for this Credit Line also serves as a request to receive any new services (such as access devices)
which may be available at some future time as one of our services in connection with this Credit Line. You understand that this request Is
voluntary and that you may refuse any of these new services at the time they are offared. You further understand that the terms and conditions
of this Agreement will govern any transactions made pursuant to any of these new services.

Collateral, You acknowledge this Agraement is secured by the following collateral deserlbed in the security instrument listed herein: a Dead of
Trust dated May 4, 2016, to a trustee in favor of us on real property located In LOS ANGELES County, State of California. That agreament
contains the following due on sale provision: We may, at our option, declare immediately due and payable all sums secured by the Deed of
Trust upon the sale or transfer, without our prior written consent, of all or any part_of the Real Property, ar any interest In the Real Property, A
“sale or transfer" means the conveyance of Real Property or any right, title or interest In the Real Property; whether legal, beneficial ar equitable;
whether voluntary or Involuntary; whether by outright sale, deed, installment sale contract, land contract, contract for deed, leasehold interast
with a term greater than three (3) years, lease-option contract, or by sale, assignment, or transfar of any beneficial interest in or to any land

trust holding title to the Real Property, or by any other method of conveyance of an Interest in the Real Property. However, this option shall not ~

be exercised by us if such exercise Is prohibited by applicable law.

Insurance. You must obtain insurance on the Property securing this Agreement that is reasonably satisfactory to us. You may obtain property
insurance through any company of your choice that Is reasonably satisfactory to us. You have the option of providing any Insurance required
under this Agreement through an existing policy or a policy independently obtained and pald for by you, subject to our right, for reasonable
cause before credit is extended, to decline any insurance provided by you. Subject to applicable law, if you fail to obtain or maintain insurance
as required In the Deed of Trust, we may purchase Insurance to protect our own interest, add the premium to your balance, pursue any other
remedies available to us, of do any one or more of these things.

Periodic Statements. If you have a balance owing on your Credit Line Account or have any account activity, we will send you a periodic
statement, unless prohibited by applicable law. It will show, among other things, credit advances, FINANCE CHARGES, other chergas,
payments made, other credits, your "Previous Balance,” and your "New Balance." Your statement also will identify the Minimum Payment you
must make for that billing period and the date it is due. :

When FINANCE CHARGES Begin to Accrue, Periodic FINANCE CHARGES for credit advances under your Credit Line will begin to accrue an the

date credit advances are posted to your Credit Line. There is no “free ride period" which wauld allow yau to avoid a FINANCE CHARGE on your
Credit Line credit advances.

Method Used to Determine the Balance on Which the FINANCE CHARGE Will Be Computed. A dally FINANCE CHARGE will be imposed on all
credit advances made under your Cradit Line imposed from the date of each credit advance based an the "daily balance" methed. Te get the
daily balance, we take the beginning balance of your Credit Line Account each day, add any new advances, and subtract any unpaid FINANCE
CHARGES and any payments or credits. This gives us the “daily balance,"

Method of Determining the Amount of FINANCE CHARGE. Any FINANCE CHARGE is determined by applying the "Periadic Rate" to the balance
described herein. Then we add togethor the periodic FINANCE CHARGES for each day in the billing cycle. This is your FINANCE CHARGE
calculated by applying a Periodic Rate.

Periodic Rate and Corresponding ANNUAL PERCENTAGE RATE. We will determine tha Periodic Rate and the corresponding ANNUAL
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EQUITYLINE CREDIT AGREEMENT AND DISCLOSURE

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PERCENTAGE RATE as follows. We start with an independent index which is the Prime rate as published in the Wall Street Journal (the
"Index”). We will use the most recent Index value avallable to us as of the Opening Date to determine the Initial Periodic Rate and the
corresponding ANNUAL PERCENTAGE RATE. The next paragraph sets forth the method by which changes in the Index are applied to make any
ANNUAL PERCENTAGE RATE adjustment. The Index is not necessarily the lowest rate charged by us on our loans, {f the Index becomes
unavailable during the term of this Credit Line Account, we may designate a substitute index, which is beyond our control, after notice to you.
To determine the Periodic Rate that will apply to your account, We add 4 margin to the value of the Index, then divide the value by the number
of days in a year (dally). To obtain the ANNUAL PERCENTAGE RATE we multiply the Periodic Rate by the number of days in a year (daily). This
result is the ANNUAL PERCENTAGE RATE. The ANNUAL PERCENTAGE RATE includes only interest and no other costs. Initially, during the
discount period, we will reduce the total rate of the Index plus margin by the percentage shown herein.

The Periodic Rate and the corresponding ANNUAL PERCENTAGE RATE on your Credit Line will Increase or decrease as the Index Increases or
decreases from time to time. Adjustrnents to the Periodic Rate and the corresponding ANNUAL PERCENTAGE RATE resulting from changes in
the Index will take effect daily as changes to the Index are published In tha Wall Street Journal. {1 no event will the Periodic Rate resuit in a
corresponding ANNUAL PERCENTAGE RATE that is less than 4.750% or more than 18.000%, nor will the Periodic Rate or corresponding
ANNUAL PERCENTAGE RATE exceed the maximum rate allowed by applicable law. Today the Index Is 3.500% per annum, and therefore the
initial Periodic Rate and the corresponding ANNUAL PERCENTAGE RATE on your Credit Line are as stated below:

Rates During the Discount Perlod

Term af Discount Discount ANNUAL PERCENTAGE Daily Periodic
Range of Balances Percentage RATE Rate
First 6 Payments
All Balances 0.250% 4.750% 0.01301%

The term of the discount period is 6 Payments.

The term of the discount period may be extended as set farth below:

The Discount Percentage (Annual Percentage Rate Discount) will remain in effect for the first six billing cycles on your Account.
However, If you take an advance of at least $25,000 at the time you open the Gredit Line the Discount Percentage will stay in
effect for the first 12 billing cycles. In addition, If you maintain a minimum average balance of at least $25,000 for the first 12
billing cycles as we reasonably determine, the discount period will ba extended for an additional 12 billing cycles. After the end
of the discount period your rate will adjust to the value deseribed herein.

Currant Non-discounted Rates for the First Payment Stream

Range of Balance Margin Added ANNUAL PERCENTAGE Daily Periodic
or Conditions to Index RATE Rate
All Balances 0.250% 4.750% 0.01301%

Notwithstanding any other provision of this Agreement, we will not charge Interest on any undisbursed loan proceeds, except as may be
permitted during any Right of Rescission period.

Forgo Rate Increases. If we forgo an ANNUAL PERCENTAGE RATE increase, at the time of a later adjustment we may return to the full Index
value plus margin.

Preferred Variabla Rate. The annual percentage rate under thls Credit Line Account is a preferred variable rate which Is subject to the following
rules and provisions:

Description of Event That Would Cause Lender to Increase tho ANNUAL PERCENTAGE RATE, The Preferred Variable Rate discount will be
terminated if the automatic-payment arrangement from your designated checking or savings account {the “Designated Account’) is

discontinued by us or you for any reason, if any monthly payment Is not made by suiomatic debit for any reason whatsoever, or if your
Designated Accaunt is closed.

How the New Rate Will Be Determined. As described above, the ANNUAL PERCENTAGE RATE under this Credit Line Account Is variable
based on the index value plus a margin. Should the event described above occur, the ANNUAL PERGENTAGE RATE will be increased as
follows: The margin added to the Index will be 0.500%, subject to any Discount Percentage described above.

Rules. The following rules relate to the termination of the preferred variable rate, including any fees that may be charged: if the discount is
terminated you must re-apply and be approved for automatic payments In order for the discount to be re-established.

Conditions Under Which Other Charges May Be Imposed. You agree to pay all the‘other fees and charges related to your Credit Line as sat forth
below:

Annual Fee. A nonrefundable Annual Fee of $75.00 will be charged to your Credit Line at the following time: On each anniversary of your
EquityLine beginning with the first anniversary.

Returned items. You may be charged $25.00 if you pay your Credit Line obligations with a check, draft, or other item that is dishonored
for any reason, unless applicable law requires a lower charge or prohitits any charge.

Fee to Stop Payment. Your Credit Line Account may be charged $12.00 when you request a stop payment on your account.

Overlimit Charge. Your Credit Line Account may be charged $50.00 if you cause your Credit Line Account to go aver your Credit Limit.
This includes writing a EquityLine Check in excess of your available balance.

Charge for Advance Less than Minimum. Your Credit Line Account may be charged $15.00 If you request a credit advance for less than
the minimum advance amount disclosed above, whether we decide fo honor it or whether we refuse to honor it, unless applicable law
requires a lower charge or prohibits any charge.

Late Charge. Your payment will be late if it is not received by 10 days following the “Payment Due Date" shown on your periodic
statements. [If your payment is late we may charge you 5.000% of the payment amount or $5.00, whichever is greater.

Other Charges. Your Credit Line Account may be charged the following cther charges: Return ltem Fee. The amount of this other charge
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Is: 15.00.
Lender's Rights, Under this Agreement, we have the following rights:

Termination and Acceleration. We can terminate your Credit LIne Account and require you to pay us the entire outstanding balance in ane
payment, and charge you certain feas, If any of the fallowing happan: (1) You commit fraud or make a material misrepresentation at any
time in connection with this Credit Agreement. This can include, far example, a false statement about your income, assets, liabilities, or
any other aspects of your financial condition. (2) Yau do not meet the repayment terms of this Credit Agreement. (3) Your action or
inaction adversely affects the collateral for the pian or our rights in the collateral. This can include, for example, failure to maintain required
insurance, waste or destructive use of the dwelling, fallure to pay taxes, death of all persons liable on the account, transfer of title or sale
of the dwelling, creation of a senior lien on the dwelling without our permission, foreclosure by the holder of another lien, or the use of
funds or the dwelling for prohibited purposes.

Suspension or Reductlan. In addition to any other rights we may have, we can suspend additional extensions of credit or reduce your
Credit Limit during any period in which any of the following are in effect:

(1) The value of your property declines significantly below the property's appraised value for purposes of this Credit Line Accaunt. This
includes, for example, a decline such that the Initial difference between the Credit Limit and the availabie aquily is reduced by fifty percent
and may include a smailler decline depending on the individual circumstances,

(2) We reasonably belleve that you will be unable to fulfill your payment obligations under your Credit Line Account due to a material
change In your financial circumstances.

(3) You are In default under any material obilgations of this Credit Line Account. We consider all of your obligations to be material.
Categories of material obligations include the avents described above under Terminatlon and Acceleration, obligations to pay fees and
charges, obligations and limitations on the receipt of credit advances, obligations concerning maintenance or use of the property or
proceeds, obligations to pay and perform the terms of any other deed of trust, mortgage or lease of the property, abligations to notify us

and to provide documents or information to us (such as updated financial information), obligations to comply with applicable laws (such as
zoning restrictions}, and obligations of any comaker.

(4) We are precluded by government actlan fram imposing the ANNUAL, PERCENTAGE RATE provided for under this Agreement.

(&) The priority of our security Interest Is adversely affected by government action to the extent that the value of the security interest is
less than one hundred twenty percent (120%) of the Credit Limit.

(68) We have been notified by governmental authority that continued advances may constitute an unsafe and unsaund business practice.

Change in Terms. We may make changes to the terms of this Agreement If you agree to the change in writing at that time, if the change
will unequivocally benefit you throughout the remainder of your Credit Line Accaunt, or if the change is insignificant (such as changes
relating to our dala processing systems). If the Index is no longer available, we will choose a new Index and margin. The new Index will
have an historical movement substantially similar to the original Index, and the new Index and margin will result In an ANNUAL
PERCENTAGE RATE that is substantially similar to the rate in effect at the time the original index becames unavailable. We may prohibit
additional extensions of credit or reduce your Credit Limit during any period In which the maximum ANNUAL PERCENTAGE RATE under
your Credit Line Account is reached.

Collection Costs. We may hire or pay someone else to help collect this Agreement If you da not pay. You will pay us that amount. This
includes, subject to any limits under applicable law, our attorneys’ faes and our legal expenses, whether or not there Is a lawsuit, including
attomeys' fees, expenses for bankruptcy proceedings (including efforts to modify or vacate any automatic stay or Injunction), and appeals.
You also will pay any court costs, in addition to all other sums providad by Jaw.

Access Devices. {f your Credit Line is suspanded or terminated, you must immediately return to us all EquityLine Checks and any other access
devices, Any use of EquityLine Checks or other access devices following suspension or termination may be considered fraudulent. You will also
remain liable for any further use of EquityLine Checks or other Credit Line access devices not returned to us.

Delay in Enforcement. We may delay or waive the enforcement of any of our tights under this Agreement without losing that right or any other
right. If we delay or waive any of our rights, we may enforce that right at any fime in the future without advance notice. For example, not
terminating your account for non-payment will not be a waiver of our right to terminate your account in the future if you have not paid.

Cancellation by you. If you cancel your right to credit advances under this Agreement, you must notify us In writing at the address shown an
your periodic billing statement or other dasignated address and return ail EquityLine Checks and any other access devices fo us. Despite
cancellation, your obligations under this Agreament will remain in full force and effect until you have paid us all amounts due under this
Agreement,

Prepayment. You may prepay all or any amount owing under this Credit Line at any time without penalty, except we will be entitled to receive
all accrued FINANCE CHARGES, and other charges, if any. Payments in excess of your Minimum Payment Will not rellave you of your obligation
to continue to make your Minimum Payments, Instead, they will reduce the principal balance owed on the Credit Line. You agree nat fo send
us payments marked “paid In full", "without recourse”, or similar language. {f you send such a payment, We may accept it without losing any of
our rights under this Agreement, and you will remain abligated to pay any further amount owed to us. All written communications concerning
disputed amounts, including any check or other payment instrument that indicates that the payment constitutes “payment In full” of the amount
owed or that is tendered with other conditions or limitations or as full satisfaction of a disputed amount must be mailed or dativared to: Farmers
and Merchants Bank of Long Beach, PO Box 21337 Long Beach, CA 90804.

Notices. All notices will be sent to your address as shown in this Agreement. Notices will be mailed to you at a differant address If you give us
written notice of a different address. You agree to advise us promptly if you changa your mailing address.

Annual Review. You agree that you will provide us with a current financial statement, a new credit application, or both, annually, on forms
provided by us. Based upon this Information we will conduct an annual review of your Gredit Line Account. You also agree we may obtain
credit reports on you at any time, at our sole option and expense, for any reason, including but not limited to determining whether there has
been an adverse change in your financial conditian. We may require a new appraisal of the Property which secures your Credit Line at any time,
including an internal inspection, at our sole option and expense. You authorize us to release information about you to third parties as described
in our privacy policy and our Fair Credit Reparting Act notice, provided you did not opt out of the applicable policy, or as permitted by law.

Transfer or Assignment. Without prior notice or approval from you, we reserva the right to sell or transfer your Credit Line Account and our
rights and obligations under this Agreement to another lender, entity, ar person, and to assign our rights under the Deed of Trust Your rights
under this Agreement belong to you only and may not be transferred or assigned. Your obligations, however, are binding on your helrs and legal
representatives. Upon any such sale of transfer, we will have no further obligation to provide you with credit advances or to perform any other
obligation under this Agreement.
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Tax Gonsaquences. You understand that neither we, nor any of our employees or agents, make any representation or warranty whatsoever
concerning the tax consequences of your estabilshing and using your Credit LIne, including the deductibility of Interest, and that neither we nor
our amployees or aganis will be liable in the event interest on your Credit Line is not deductible. You should consult your own tax advisor for
guidance on this subject.

Reconveyance Fee, VWhen your Account is closed and pald tn full, you will be required to pay a reconveyance fee, The amount of the fee is
$45,00, but shall not excaed the maximum amount established by Jaw at the time of reconveyance. In addition, you will be required to pay the
fee for recording the recanveyance imposed by the county recorder's office,

Rate Change. Should the terms of the note indicate a rate change on a specific date, and that date falls on a weekend or holiday, the rate
change will occur on the businoss day immediately preceding.

LENDER'S EXPENDITURES, Lender is permitted to make expenditures to facilitate callectlon of the credit line, as set forth in the Credit
Agreement and the Related Dacuments. All such expenditures incurred or pald by Lender for such pumases will then bear interest at the rate
charged under the Credit Line Account from the date incurred or paid by Lender ta the date of repayment by Borrower. All such expenses will
become a part of the Indebtedness, and at Lender's option, will (A) be payable on demand; (B) be added to the balance of the Gredit Line and be
apportioned among and be payabie with any installment payments to become due under the Credit Line; or (C) be feated as a balloon payment
which will be due and payable upon matunity of the Credit Line Account.

CREDIT LINE ACCOUNT PAYOFF REQUESTS, We can immediately suspend additional extensions of credit from your Credit Line upon our
receipt of a payoff demand, This means that you will not be able to obtain any advances under the Credit Line and any requests for credit
advanees will not be honored.

Governing Law. This Agreement will be governed by federal law applicable to us and, to the extent not preempted by federal law, the laws of
the State of California without regard to Its conflicts of law provisions. This Agreement has heen accapted by us In the State of California.

Cholce of Venue, If there is a lawsuil, you agree upon our request to submit to the jurisdiction of the courts of Los Angeles County, State of
Callformia.

Caption Headings. Caption headings In thls Agreement are for canvenlence purposes only and are not to be used to interpret or defina the
provisions of this Agreement.

Interpretation. You agree that this Agreement, together with the Deed of Trust, is the most reliable evidence of your agreements with us. If we
go-to court for any reason, We can use a copy, filmed or electronic, of any periodic statement, this Agreement, the Deed of Trust or any other
document to prove what you owe us or that a transaction has taken place. The copy, microfilm, microfiche, or optical image will have the sare

valldity as the original. You agree that, except to the extant you can show there is a billing arrar, your most current periodic statement is the
most reliable evidence of your obligation to pay.

Severability. If a court finds that any provision of this Agreement is not valid or should not be enforced, that fact by itself will not mean that the
rest of this Agreement will not be valid or enforced. Therefore, a court will enforce the rest of the provisions of this Agreement even if a
provision of this Agreement may be found fo be invalid or unenforceable.

Acknowledgment. You understand and agree to the terms and conditions In this Agreement. By signing this Agreement, you acknowledge that
you have read this Agreement. You also acknowledge raceipt of a completed copy of this Agreement, including the Fair Credit Billing Notice and
the early home equity line of credit application disclosure, in addition to the handbook entitled "What you should know about Home Equity Lines
of Credit," given with the application.

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BILLING ERROR RIGHTS
YOUR BILLING RIGHTS
KEEP THIS NOTICE FOR FUTURE USE
This notice contains Important information about your rights and our responsibilities under the Fair Credit Billing Act.

Notify us in case of errors or questions about your bill.

Hf you think your bill is wrong, or if you need more Information about a transaction on your bill, write us on a separate sheet at

Farmers and Merchants Bank of Long Beach

PO Box 21337

Long Beach, CA 90801
or at the address listed on your bill. Write to us as soon as possible, We must hear from yau no later than sixty (60) days after we sent you the
first bill on which the error or problem appeared. You can telephone us, but doing so will not preserve your rights.

in your letter, give us the followlng Information:
Your name and account number.
The dollar amount of tha suspected error.

Describe the error and explain, lf you can, why you bellave there is an error, ff you need more Information, describe the item you are
not sure about.

lf you have authorized us to pay your bill automatically from your savings or checking account, you can stop the payment on any amount you
think is wrong. To stop the payment, your letter must reach us three (3) business days before the automatic payment is scheduled to occur.

Your rights and our responsibilities after we receive your written notice,

We must acknowledge your letter within thirty (3G) days, unless we have corrected the error by then. Within ninety (90) days, we must aither
corract the error or explain why we believe the bill was correct,

After we receive your letter, we cannot try to collect any amount you question, or report you as delinquent. We can continue to bill you far the
amount you question, including finance charges, and we can apply any unpaid amount against your Credit Limit. You do not have to pay any
questioned amount while we are investigating, but you are still obligated to pay the parts of your bill that are not in question.

lf we find that we made a mistake on your bill, you will not have to pay any finance charges related to any questioned amount. If we didn't
make a mistake, you may have to pay finance charges, and you will have to make up any missed payments on the questioned amount. in either
case, we will send you a statement of the amount you owe and the date on which itis due,

If you fail to pay the amount that we think you owe, we may report you as delinquent. However, If our explanation does not satisfy you and
you write to us within ten (10) days telling us that you still refuse to pay, we must tell anyone we report you to that you have a question about
your bill, And, we must tell you the name of anyone we reported you to. We must tell anyone we report you to that the matter has been
settled between tts when it finally is.

if we don't follow these rules, we can't collect the first $50 of the questioned amount, even if your bill was correct.

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PAYMENT DEFERRAL AGREEMENT

(Lender's Loan No. 90-270-0273-8)

THIS PAYMENT DEFERRAL AGREEMENT (the “Agreemen ") is made as of August 10, 2021, by and among Linda Veerkamp ("Bomower"),
and Farmers and Merdiants Bank of Long Beach, a CA Corp ("Lender"), with reference to the following:

RECITALS
A. Lender has extended its loari number 90-270-0273-8 lo Borrower in the origina} principal amount of $250,000,00 (the “Loan’).
The Loan is evidenced by, inter alia, that certain EQUITYLINE CREDIT AGREEMENT AND DISCLOSURE daled May 4, 2016 In favor of Lender

in the original principal amount of $250,000.00 (ihe "Note”). The Note and alt other documents evidencing, securing or guarantying the Loan aro
coilectively referred to herein as the “Loan Documents’. .

B. The Loan Documents are valid. binding and entorceable In accordance with their terms, and Borrower does not have any
defense, claim or offsel to its obligations ta Lender under the Loan Documents.

G, As of the date hereof, the unpaid principal balance of the Loan Is $251,951.64 and there is accrued and unpaid interes| owlag
to Lender under Ihe Note In the amount of $813.36 and deferred interest in the amount of $42,681.90.

D. Borrower has represented and warranted to Lender that she has been adversely impacted by COVID-19 and has experienced
financial hardshio as a result of this impect, making It difficult for Borrower to meet her payment obligations as and when due under the Note and
the other Loan Documents. 3

=. in an effort io accommodate Borrower, Lender hereby agraes to the terms and conditions more particulariy set forth below,

NOW, THEREFORE, in consideration of the premises set forth above and other good and valuable consideration, the receipt and sufficiensy of
which are hereby acknowledged, the parties agree as follows:

AGREEMENT

Resltals. The recitals are incorporated herein by this reference as are alt exhibits, Borrower agrees and acknowledges that the factual
infonnaiion recited above is true and correct.

2. Payment Deferral. Beginning wilh the Loan payment due on July 10, 2021, Borrowers regularly scheduled monthly payments under the
Note shall be deferred in Its entirely for a period of two (2) months {the "Payment Deferral Period’), Upon the end cf the Payment Deferral
Period and beginning with the Loan payment due on September 9, 2024, repayment terms will revert back to the Note's payment tetms in
effect diractly prior to the Payment Deferral Period. Borrower may pay deferred amounts at any ime during the term of the Loan.

5. Accrued and Unpaid Interest. Borrower hereby acknowledges and agrees that all interest that accrues and remains unpaid during the
Payment Deferral Period shall not be capitalized or added to the principal balance of the Loan, but Instead shall remain due and payable by
Borrower upon the eartiest te occur of the full repayment of the Loan or tne entre balance of the Loan becoming due and payable, vAvether
as a result of maturity or otherwise. Borrawer may pay deferred amounts at any time during the term of the Loan.

4. Maturity Date, The maturity date of the Loan is not being extended as a result of the Paymenl Deferral Period.

5. Priority of Lender's Securily Interests. Borrower agrees to fully cooperate with Lender In connection with obtaining any title insurance and
any other actlon thal may be underteken by Lender in conreciion with this Agreement that Lender cetermines is or may be necessary to
preserve the validity and/or priority of Lender's liens and/or security inlerests securing the Loan. Borrower further acknowledges and agrees
thal Borrower shail be responsibie for any and all fees, cests ard expenses (Including attomeys'’ fees} ineurred by Lender In connection with
the foregoing, which shall be due and payable by Borrower to Lender upon the earlier of the full repayment of tne Loan or the entire balance
af the Loan becoming due and payable, whether as a result of maturity or otherwise.

6. Reservation af Rights. Borrower hereby acknowiedges and agrees that the Payment Deferral Period Is granted by Lender on a one-time
basis and that Lender reserves the right to withhold Its consent to any future requast that Lender provide payment deferral or relief. Nothing
herein shall be consirued as a walver of Lender's right to sicily anforce the terms of the Note and the other Loan Documents on and alter
the end of the Payment Deferral Period.

7. Gontinuing Validity. Borrower acknowledges and agrees that, except as othenvise expressly provided in this Agreement. aj terms.
conditions and provisions of the Loan Documents shall continue In ‘ull force and effect, and remain unaffected and unchanged. ‘This
Agreement In no way acts as a release oF retinquishment of, and in no way affects, the liens, security Interests and rights created by of arising
under the Loan Decuments, or the priority thereof. Such liens, security interests and rights are hereby ratified, confirmed, renewed and
oxterided in all respects. The Loan Documents, any other securily for payment of the Note, and all rights, remedies, tities, iens and equities
securing ihe Note as hereby modified and tne indebtedness represented thereby are hereby recognized, renewed, exiended and continued
in full force and effect for he benefit of the holder of the Note and the indebtedness evidenced thereby. Except as specifically set farth in this
Agreement, all rights and remedies of Lender are yeserved.

8.. Release. in consideralion of Lender’s agreement to enter ino this Agreement, Borrower hereby ages as follows:

a. Sorrower, on behalf of herself, and her successors and assigns (collectively the “Releasing Parties") hereby feleases and forever
discharges Lender and all of ils subsidiaries, affiliates, officars, directors, employees, agents, atlorneys, advisors, and Its and thelr
successors and assigns (collecilvely the "Released Panties") from any and all claims, demands, debis, liabilitles, contracts, obtigatians,
accounts, torts, causes of action or claims for rellef of whatever Kind ar nature, whether known or unknown, whether suspected or
unsuspected, which the Releasing Parties may have or which may hereafter be asserted of accrue against Released Parties, or any of
thar, resulting {rom or in any way relating to any act of omission done or committed by Released Parlies, or any of them, arising directly
gr indirectly out of the Loan, the Loar, Documents, the transactions avidencad or contemplated thereby, the approval, the orlginatien,

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the funding and the closing of the Loa; the review. appreval, or disapproval of any and all documents, instruments, Insurance and afl
other llerns submitted to Lender in connestion with the Loan; the disbursements of funds under the Loan, the modification of the Loan
made pursuant to thls Agreement: Lender's acts, statements, conduct, tepresentalions and omissions made In connection with the
modification of the Loan, inciuding, without limilation, the terms and conditions of this Agreement; any fact, matter, transaction or event
relating thereto; or the relationsh’ps existing or transactions or dealings occurring between Lender and Releasing Parties up to and as
of the date of this Agreement (the "Claims".

b. ‘The release described in the Immediately nreceding pa ragraph ano in ihis paragraph applies {to all Claims which the Releasing Pariles
have or which may hereafter arise agains! the Released Parties, or any of them, as a result of acts or omissions occurring before the
date of this Agreement, whether or not known or suspected by the Parties hereto, Releasing Parties expressly acknowledge that,
although it may ba thal ordinarily a general release does not exland te clalms which the releasing parly does not know or suspect to
exsst in his favor, which if known by him must have materially affected his settlement with the party released, il has carefully considered
and taken inta account! In determining to enter into this Agreement the possible existence of such usteewn losses or Claims.

c. Without Ilmiting the generality of the foregoing, Releasing Parties expressly waive any and all rights conferred upan |i by any statute or

rule of law which provides that a release does not extend {o clalms which the releasing party does not know or suspect ta exist In the
releasing party's favor at the lime of executing {he release, which If known by the releasing parly must have matedally affected the
releasing party's setllement with the released party. Further, Releasing Parties each acknowledge and waive the benefits of California
Civil Code Secilon 1542, and any ordinances or statulory. regulatery, or judicially created laws or rules of any applicable jurisdiction
walch may provide, in substantive part, that:

“A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR
SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND TI iAT, IF KNOWN BY HIM OR
HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY,”

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gd. This release by Releasing Parlies shall cansifute a complete defense to any calm. cause of action, defense, contract, liability,
Indebtedness, obligation, liability, claim or cause of action exists which is within the scope of those hereby releasad, Releasing Parties
hereby acknowledge that it has not relied upon any represantation of any kind made by Lender in making the foregoing release.

This Agreement One of the Loan Decuments. From and afler the date hereof, this Agreement is and shall be deemed one of the Laan
Documents. An event of default under this Agreerrent shall constitute an event of detault under the Note and the other Loan Documents.

Termination, Either parly may terminate this Agreement upon written nefice of termination to the other parly at the address provided for in
ihe Loan Documents. Upon termination of this Agreement, all payments due and owing under the Nole shall revert back to the payment teans
in effect directly prior tc the Payment Deferral Period and Borrower shail -amain obligated for payment of any and all fees, costs and/or
expenses incurred by Lender in connection with this Agreement as provided above,

General, Borrower shall execute such additional documents as Lender may require to fully effectuate the intent of this Agreement. If any
action, sui: or othar proceeding is brough! to enforce the obligations of Borrower under this Agreement, Lender shall be enlitled lo recelve all
of its cosis and expenses of suil, including alterneys’ fees, incurrad in each and every such action, suit of other proceeding. including any
and all appeals or petitions therefrom. As used in this Agreement, atlorneys’ fees shall mean the full and actual cost of any legal services
aclually performed in connection with the matters involved, calculated on the basis of the usual fee charged by the attorneys perferming such
services, and may also include [he allccabia fees and costs of in-house counsel, and shal} not be limiled to "reasonable attorneys’ fees” as
defined in any statute or rule of cour. This Agreement shall be governed by, anc inlerpreied in accordance wath, tha laws of the State of
California (however, not to the exelusion of any applicable Federal law}, without regard {o stale statutes or judicial decisions regarding choice
of iaw questions,

Counterparts, This document may be executed in one or mora counterparts, each of whish shell be deemad an original but all of which
together shail conslitufe one and the same instrument. Delivery of a signature page lo, or an executed counterpar of, this document by
facsimile, email transmission of a scanned image, DecuSign, or other electronic means, shall be effective as delivery of an originally executed
counterpar. The words “execution,” “signed,” signature.’ and words of like import In this docurnent shall ba deamed to include electronic
S.gnatures or ine keeping of racords in electronic form, sach of which shail be of the same legal effect, validily, or enforceabilily as a manually
executed signature of ihe use of a paper-based record keeping system, as the case may be, to the extent and as providad for in any applicable
faw, Including, without limitation. Electronic Signatures in Global and Natlonal Commerce Aci, tne Ca‘ifornia Uniform Electronic Transaction
Act any other similar state laws based on the Uniform Electronic Transactions Act or the Uniform Commercia! Code, and the parties hereto
hereby waive any objection to the contrary.

PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT AND
BORROWER AGREES TO THE TERMS OF THIS AGREEMENT,

BORROWER:

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PAYMENT DEFERRAL AGREEMENT
(Lender’s Loan No. 90-270-0273-8)

THIS PAYMENT DEFERRAL AGREEMENT (the “Agreement'"). is made as of April 26, 2021, by and among Linda Veerkamp ("Borrower"), and
Farmers and Merchants Bank of Long Beach, a CA Corp ("Lender"), with reference to the following:

RECITALS

A. Lender has extended its loan number 90-270-0273-8 to Borrower in the original principal amount of $250,000.00 (the “Loan’).
The Loan is evidenced by, inter alia, that certain EQUITYLINE CREDIT AGREEMENT AND DISCLOSURE dated May 4, 2016 in favor of Lender
in the original principal amount of $250,000.00 (the "Note"). The Note and all other documents evidencing, securing or guarantying the Loan are
collectively referred to herein as the "Loan Documents”.

B. The Loan Documents are valid. binding and enforceable in accordance with their terms, and Borrower does not have any
defense, claim or offset to its obligations to Lender under the Loan Documents.

Cc. As of the date hereof, the unpaid principal balance of the Loan is $251,869.98 and there is accrued and unpaid interest owing
to Lender under the Note in the amount of $325.34 and deferred interest in the amount of $9,802.95.

D. Borrower has represented and warranted to Lender that she has been adversely impacted by COVID-19 and has experienced
financial hardship as a result of this impact, making it difficult for Borrower to meet her payment obligations as and when due under the Note and
the other Loan Documents.

E. In an effort to accommodate Borrower, Lender hereby agrees to the terms and conditions more particularly set forth below.

NOW, THEREFORE, in consideration of the premises set forth above and other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the parties agree as follows:

AGREEMENT

1. Recitals. The recitais are incorporated herein by this reference as are all exhibits. Borrower agrees and acknowledges that the factual
information recited above is true and correct.

2. Payment Deferral. Beginning with the Loan payment due on April 9, 2021, Borrowers regularly scheduled monthly payments under the
Note shall be deferred in its entirety for a period of three (3} months (the “Payment Deferral Period"). Upon the end of the Payment Deferral
Period and beginning with the Loan payment due on July 9, 2021, repayment terms will revert back to the Note’s payment terms in effect
directly prior to the Payment Deferral Period. Borrower may pay deferred amounts at any time during the term of the Loan.

3. Accrued and Unpaid interest. Borrower hereby acknowledges and agrees that all interest that accrues and remains unpaid during the
Payment Deferral Period shall not be capitalized or added to the principal balance of the Loan, but instead shall remain due and payable by
Borrower upon the earliest to occur of the full repayment of the Loan or the entire balance of the Loan becoming due and payable, whether
as a result of maturity or otherwise. Borrower may pay deferred amounts at any time during the term of the Loan.

4. Maturity Date. The maturity date of the Loan is not being extended as a result of the Payment Deferral Period.

5. Priority of Lender’s Security Interests. Borrower agrees to fully cooperate with Lender in connection with obtaining any title insurance and
any other action that may be underlaken by Lender in connection with this Agreement that Lender determines is or may be necessary to
preserve the validity and/or priority of Lender's liens and/or security interests securing the Loan. Borrower further acknowledges and agrees
that Borrower shail be responsible for any and all fees, costs and expenses (including attorneys’ fees) incurred by Lender in connection with
the foregoing, which shall be due and payable by Borrower to Lender upon the earlier of the full repayment of the Loan or the entire balance
of the Loan becoming due and payable, whether as a result of maturity or otherwise.

6. Reservation of Rights. Borrower hereby acknowledges and agrees that the Payment Deferral Period is granted by Lender on a one-time
basis and that Lender reserves the right to withhold its consent to any future request that Lender provide payment deferral or relief. Nothing
herein shall be construed as a waiver of Lender's right to strictly enforce the terms of the Note and the other Loan Documents on and after
the end of the Payment Deferral Period.

7. Continuing Validity. Borrower acknowledges and agrees that, except as otherwise expressly provided in this Agreement, all terms,
conditions and provisions of the Loan Documents shall continue in full force and effect. and remain unaffected and unchanged. This
Agreement in no way acts as a release or relinquishment of, and in no way affects, the liens, security interests and rights created by or arising
under the Loan Documents, or the priority thereof. Such liens, security interests and rights are hereby ratified, confirmed, renewed and
extended in all respects. The Loan Documents, any other security for payment of the Note, and all rights, remedies, titles, liens and equities
securing the Note as hereby modified and the indebtedness represented thereby are hereby recognized, renewed, extended and continued
in full force and effect for the benefit of the hoider of the Note and the indebtedness evidenced thereby. Except as specifically set forth in this
Agreement, all rights and remedies of Lender are reserved.

8. Release. In consideration of Lender's agreement to enter into this Agreement, Borrower hereby agrees as follows:

a, Borrower, on behalf of herself, and her successors and assigns (collectively the “Releasing Parties”) hereby releases and forever
discharges Lender and all of its subsidiaries, affiliates, officers, directors, employees, agents, attorneys, advisors, and its and their
successors and assigns (collectively the “Released Parties”) from any and all claims, demands, debts, liabilities, contracts, obligations,
accounts, torts, causes of action or claims for relief of whatever kind or nature, whether known or unknown, whether suspected or
unsuspected, which the Releasing Parties may have or which may hereafter be asserted or accrue against Released Parties, or any of
them, resulting from or in any way relating to any act or omission done or committed by Released Parties, or any ofthem, arising directly
or indirectly out of the Loan, the Loan Documents, the transactions evidenced or contemplated thereby, the approval, the origination,

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the funding and the closing of the Loan; the review, approval, or disapproval of any and all documents, instruments, insurance and all
other items submitted to Lender in connection with the Loan; the disbursements of funds under the Loan: the modification of the Loan
made pursuant to this Agreement; Lender's acts, statements, conduct, representations and omissions made in connection with the
modification of the Loan, including, without limitation, the terms and conditions of this Agreement; any fact, matter, transaction or event
relating thereto; or the relationships existing or transactions or dealings occurring between Lender and Releasing Parties up to and as
of the date of this Agreement (the “Ciaims”).

b. The release described in the immediately preceding paragraph and in this paragraph applies to ail Claims which the Releasing Parties
have or which may hereafter arise against the Released Parties, or any of them, as a result of acts or omissions occurring before the
date of this Agreement, whether or not known or suspected by the Parties hereto. Releasing Parties expressly acknowledge that,
although it may be that ordinarily a general release does not extend to claims which the releasing party does not know or suspect to
exist in his favor, which if known by him must have materially affected his settlement with the party released, it has carefully considered
and taken into account in determining to enter into this Agreement the possible existence of such unknown losses or Claims.

c. Without limiting the generality of the foregoing, Releasing Parties expressly waive any and all rights conferred upon it by any statute or
rule of law which provides that a release does not extend to claims which the releasing party does not know or suspect to exist in the
releasing party's favor at the time of executing the release, which if known by the releasing party must have materially affected the
releasing party's settlement with the released party. Further, Releasing Parties each acknowledge and waive the benefits of California
Civil Code Section 1542. and any ordinances or statutory, regulatory, or judicially created laws or rules of any applicable jurisdiction
which may provide, in substantive part, that:

“A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR
SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF KNOWN BY HIM OR
HERs LD HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.”

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d. This release by Releasing Parties shali constitute a complete defense to any claim, cause of action, defense, contract, liability,
indebtedness, obligation, liability, claim or cause of action exists which is within the scope of those hereby released. Releasing Parties
hereby acknowledge that it has not relied upon any representation of any kind made by Lender in making the foregoing release.

This Agreement One of the Loan Documents. From and after the date hereof, this Agreement is and shall be deemed one of the Loan
Documents. An event of default under this Agreement shall constitute an event of default under the Note and the other Loan Documents.

Termination. Either party may terminate this Agreement upon written notice of termination to the other party at the address provided for in
the Loan Documents. Upon termination of this Agreement, all payments due and owing under the Note shail revert back to the payment terms
in effect directly prior to the Payment Deferral Period and Borrower shail remain obligated for payment of any and all fees, costs and/or
expenses incurred by Lender in connection with this Agreement as provided above.

General. Borrower shall execute such additional documents as Lender may require to fully effectuate the intent of this Agreement. if any
action, suit or other proceeding is brought to enforce the obligations of Borrower under this Agreement, Lender shall be entitled to receive all
of its costs and expenses of suit, including attorneys’ fees, incurred in each and every such action, suit or other proceeding, including any
and all appeals or petitions therefrom. As used in this Agreement. attorneys’ fees shall mean the full and actual cost of any legal services
actually perfarmed in connection with the matters involved, calculated on the basis of the usual fee charged by the attorneys performing such
services, and may also include the allocable fees and costs of in-house counsel, and. shall not be limited to "reasonable attorneys’ fees" as
defined in any statute or rule of court, This Agreement shall be governed by. and interpreted in accordance with, the laws of the State of
California (however, not to the exclusion of any applicable Federal law), without regard to state statutes or judicial decisions regarding choice
of law questions.

Counterparts. This document may be executed in one or more counterparts, each of which shall be deemed an original but all of which
together shall constitute one and the same instrument. Delivery of a signature page to. or an executed counterpart of, this document by
facsimile, email transmission of a scanned image, DocuSign, or other electronic means, shall be effective as delivery of an originally executed
counterpart. The words “execution,” “signed,” “signature,” and words of like import in this document shall be deemed to include electronic
signatures or the keeping of records in electronic form, each of which shall be of the same legal effect, validity, or enforceability as a manuaily
executed signature or the use of a paper-based record keeping system, as the case may be, to the extent and as provided for in any applicable
law, including, without limitation, Electronic Signatures in Global and National Commerce Act, the California Uniform Electronic Transaction
Act any other similar state laws based on the Uniform Electronic Transactions Act or the Uniform Commercial Code, and the parties hereto
hereby waive any objection to the contrary.

PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT AND
BORROWER AGREES TO THE TERMS OF THIS AGREEMENT.

BORROWER:

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[Uinda Verkamp 5/3/2021
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Linda Veerkamp

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PAYMENT DEFERRAL AGREEMENT
{Lender’s Loan No, 90-270-0273-8)

THIS PAYMENT DEFERRAL AGREEMENT (the “Agreement"), is made as of February 26, 2021, by and among Linda Veerkamp ("Borrower"),
and Farmers and Merchants Bank of Long Beach, a CA Corp ("Lender"), with reference to the following:

RECITALS

A. Lender has extended its loan number 90-270-0273-8 to Borrower in the original principal amount of $250,000.00 (the “Loan’).
The Loan is evidenced by, inter alia, that certain EQUITYLINE CREDIT AGREEMENT AND DISCLOSURE dated May 4, 2016 in favor of Lender
in the original principal amount of $250,000.00 (the "Note"). The Note and all other documents evidencing, securing or guarantying the Loan are
collectively referred to herein as the "Loan Documents".

B. The Loan Documents are valid, binding and enforceable in accordance with their terms. and Borrower does not have any
defense, claim or offset to its obligations to Lender under the Loan Documents.
¢ As of the date hereof, the unpaid principal balance of the Loan is $281,087.56 and there is accrued and unpaid interest owing

to Lender under the Note in the amount of $289.42 and deferred interest in the amount of $5,816.98.

D. Borrower has represented and warranted to Lender that she has been adversely impacted by COVID-19 and has experienced
financial hardship as a result of this impact, making it difficult for Borrower to meet her payment obligations as and when due under the Note and
the other Loan Documents.

E. In an effort to accommodate Borrower, Lender hereby agrees to the terms and conditions more particularly set forth below.

NOW, THEREFORE, in consideration of the premises set forth above and other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the parties agree as follows:

AGREEMENT

1. Recitals. The recitals are incorporated herein by this reference as are all exhibits. Borrower agrees and acknowledges that the factual
information recited above is true and correct.

2. Payment Deferral. Beginning with the Loan payment due on December 11, 2020, Borrower's regularly scheduled monthly payments under
the Note shali be deferred in its entirety for a period of four (4) months (the “Payment Deferral Period"). Upon the end of the Payment
Deferrai Period and beginning with the Loan payment due on April 10, 2021, repayment terms will revert back to the Note's payment terms
in effect directly prior to the Payment Deferral Period. Borrower may pay deferred amounts at any time during the term of the Loan.

3. Accrued and Unpaid interest. Borrower hereby acknowledges and agrees that all interest that accrues and remains unpaid during the
Payment Deferral Period shall not be capitalized or added to the principal balance of the Loan, but instead shall remain due and payable by
Borrower upon the earliest to occur of the full repayment of the Loan or the entire balance of the Loan becoming due and payable, whether
as a result of maturity or otherwise. Borrower may pay deferred amounts at any time during the term of the Loan.

4. Maturity Date. The maturity date of the Loan is not being extended as a result of the Payment Deferral Period.

5. Priority of Lender’s Security interests. Borrower agrees to fully cooperate with Lender in connection with obteining any title insurance and
any other action that may be undertaken by Lender in connection with this Agreement that Lender determines is or may be necessary to
preserve the validity and/or priority of Lender's liens and/or security interests securing the Loan. Borrower further acknowledges and agrees
that Borrower shail be responsible for any and ail fees, costs and expenses (including attorneys’ fees) incurred by Lender in connection with
the foregoing, which shall be due and payable by Borrower to Lender upon the earlier of the full repayment of the Loan or the entire balance
of the Loan becoming due and payable, whether as a result of maturity or otherwise.

6. Reservation of Rights. Borrower hereby acknowiedges and agrees that the Payment Deferral Period is granted by Lender on a one-time
basis and that Lender reserves the right to withhold its consent to any future request that Lender provide payment deferral or relief. Nothing
herein shall be construed as a waiver of Lender's right to strictly enforce the terms of the Note and the other Loan Documents on and after
the end of the Payment Deferral Period.

7. Continuing Validity. Borrower acknowledges and agrees that, except as otherwise expressly provided in this Agreement, all terms,
conditions and provisions of the Loan Documents shail continue in full force and effect, and remain unaffected and unchanged. This
Agreement in no way acts as a release or relinquishment of, and in no way affects. the liens, security interests and rights created by or arising
under the Loan Documents, or the priority thereof. Such liens, security interests and rights are hereby ratified, confirmed, renewed and
extended in all respects. The Loan Documents, any other security for payment of the Note, and all rights, remedies, tities, liens and equities
securing the Note as hereby modified and the indebtedness represented thereby are hereby recognized, renewed, extended and continued
in full force and effect for the benefit of the holder of the Note and the indebtedness evidenced thereby. Except as specifically set forth in this
Agreement, all rights and remedies of Lender are reserved.

8. Release. In consideration of Lender's agreement to enter into this Agreement, Borrower hereby agrees as follows:

a. Borrower, on behalf of herself. and her successors and assigns (collectively the “Releasing Parties’) hereby releases and forever
discharges Lender and ail of its subsidiaries, affiliates, officers, directors, employees, agents, attorneys, advisors, and its and their
successors and assigns (collectively the “Released Parties") from any and all claims, demands, debts, liabilities, contracts, obligations,
accounts, torts, causes of action or claims for relief of whatever kind or nature, whether known or unknown, whether suspected or
unsuspected, which the Releasing Parties may have or which may hereafter be asserted or accrue against Released Parties, or any of
them, resulting from or in any way relating to any act or omission done or committed by Released Parties, or any of them, arising directly
or indirectly out of the Loan, the Loan Documents, the transactions evidenced or contemplated thereby, the approval, the origination,

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the funding and the closing of the Loan; the review, approval, or disapproval of any and all documents, instruments, insurance and all
other items submitted to Lender in connection with the Loan; the disbursements of funds under the Loan: the modification of the Loan
made pursuant to this Agreement; Lender's acts, statements, conduct, representations and omissions made in connection with the
modification of the Loan, including. without limitation, the terms and conditions of this Agreement: any fact, matter, transaction or event

relating thereto; or the relationships existing or transactions or dealings occurring between Lender and Releasing Parties up to and as
of the date of this Agreement (the “Claims”).

b. The release described in the immediately preceding paragraph and in this paragraph applies to all Claims which the Releasing Parties
have or which may hereafter arise against the Released Parties, or any of them, as a result of acts or omissions occurring before the
date of this Agreement, whether or not known or suspected by the Parties hereto. Releasing Parties expressly acknowledge that,
although it may be that ordinarily a general release does not extend to claims which the releasing party does not know or suspect to
exist in his favor, which if known by him must have materially affected his settlement with the party released, it has carefully considered
and taken into account in determining to enter into this Agreement the possible existence of such unknown losses or Claims.

c. Without limiting the generality of the foregoing, Releasing Parties expressly waive any and all rights conferred upon it by any statute or
rule of law which provides that a release does not extend to claims which the releasing party does not know or suspect to exist in the
teleasing party's favor at the time of executing the release, which if known by the releasing party must have materially affected the
releasing party's settlement with the released party. Further, Releasing Parties each acknowledge and waive the benefits of California
Civil Code Section 1542, and any ordinances or statutory, regulatory, or judicially created laws or rules of any applicable jurisdiction
which may provide, in substantive part, that:

“A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR
SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF KNOWN BY HIM OR
HER; LD HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.”

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d. This release by Releasing Parties shall constitute a complete defense to any claim, cause of action, defense, contract. liability,
indebtedness, obligation, jiability, claim or cause of action exists which is within the scope of these hereby released. Releasing Parties
hereby acknowledge that it has not relied upon any representation of any kind made by Lender in making the foregoing release.

This Agreement One of the Loan Documents. From and after the date hereof, this Agreement is and shall be deemed one of the Loan
Documents. An event of default under this Agreement shall constitute an event of default under the Note and the other Loan Documents.

Termination. Either party may terminate this Agreement upon written notice of termination to the other party at the address provided for in
the Loan Documents. Upon termination of this Agreement, all payments due and owing under the Note shail revert back to the payment terms
in effect directly prior to the Payment Deferral Period and Borrower shail remain obligated for payment of any and ail fees, costs and/or
expenses incurred by Lender in connection with this Agreement as provided above.

General. Borrower shall execute such additional documents as Lender may require to fully effectuate the intent of this Agreement. If any
action, suit or other proceeding is brought to enforce the obligations of Borrawer under this Agreement, Lender shall be entitled to receive all
of its costs and expenses of suit, including attorneys’ fees, incurred in each and every such action, suit or other proceeding, including any
and all appeals or petitions therefrom. As used in this Agreement, attorneys’ fees shall mean the full and actual cost of any legal services
actually perfarmed in connection with the matters involved. calculated on the basis of the usual fee charged by the attorneys performing such
services, and may also include the allocable fees and costs of in-house counsei, and shall not be limited to "reasonable attorneys’ fees" as
defined in any statute or rule of court. This Agreement shall be governed by, and interpreted in accordance with, the laws of the State of
California (however, not to the exclusion of any applicable Federal law), without regard to state statutes or judicial decisions regarding chcice
of law questions.

Counterparts. This document may be executed in one or more counterparts, each of which shall be deemed an original but all of which
together shall constitute one and the same instrument. Delivery of a signature page to, or an executed counterpart of, this document by
facsimile, email transmission of a scanned image, DocuSign, or other electronic means, shail be effective as delivery of an originally executed
counterpart. The words “execution,” “signed,” “signature,” and words of like import in this document shall be deemed to include electronic
signatures or the keeping of records in electronic form, each of which shall be of the same fegal effect, validity, or enforceability as a manually
executed signature or the use ofa paper-based record keeping system, as the case may be, to the extent and as provided forin any applicable
law, including, without limitation, Electronic Signatures in Global and National Commerce Act, the California Uniform Electronic Transaction
Act any other similar state laws based on the Uniform Electronic Transactions Act or the Uniform Commercial Code, and the parties hereto
hereby waive any objection to the contrary.

PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT AND
BORROWER AGREES TO THE TERMS OF THIS AGREEMENT.

BORROWER:

BocuSigned by:
[tind Veerkamp 3/11/2021
x

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Linda Veerkamp

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PAYMENT DEFERRAL AGREEMENT
(Lender’s Loan No. 90-270-0273-8)

THIS PAYMENT DEFERRAL AGREEMENT (the "Aqreement"), is made as of June 26, 2020, by and among Linda Veerkamp ("Borrower"), and
Farmers and Merchants Bank of Long Beach, a CA Corp ("Lender"), with reference to the following:

RECITALS

A. Lender has extended its loan number 90-270-0273-8 to Borrower in the original principal amount of $250,000.00 (the “Loan’).
The Loan is evidenced by, inter alia, that certain EQUITYLINE CREDIT AGREEMENT AND DISCLOSURE dated May 4, 2016 in favor of Lender
in the original principal amount of $250,000.00 (the "Note"). The Note and all other documents evidencing, securing or guarantying the Loan are
collectively referred to herein as the "Loan Documents".

B. The Loan Documents are valid, binding and enforceable in accordance with their terms, and Borrower does not have any
defense, claim or offset to its obligations to Lender under the Loan Documents.
Cc As of the date hereof, the unpaid principal balance of the Loan is $249,071.23 and there is accrued and unpaid interest owing

to Lender under the Note in the amount of $319.66.

D. Borrower has represented and warranted to Lender that she has been adversely im pacted by COVID-19 and has experienced
financial hardship as a result of this impact, making it difficult for Borrower to meet her payment obligations as and when due under the Note and
the other Loan Documents.

EE in an effort to accommodate Borrower, Lender hereby agrees to the terms and conditions more particuiarly set forth below.

NOW, THEREFORE, in consideration of the premises set forth above and other good and valuable consideration, the receipt and sufficiency of
which are hereby acknowledged, the parties agree as follows:

AGREEMENT

i. Recitals. The recitais are incorporated herein by this reference as are all exhibits. Borrower agrees and acknowledges that the factual
information recited above is true and correct.

2. Payment Deferral. Beginning with the Loan payment due on June 9, 2020, Borrower's reguiarly scheduled monthly payments under the
Note shall be deferred in its entirety for a period of six (6) months (the “Payment Deferral Period’). Upon the end of the Payment Deferral
Period and beginning with the Loan payment due on December 9, 2020, repayment terms will revert back to the Note’s payment terms in
effect directly prior to the Payment Deferral Period. Borrower may pay deferred amounts at any time during the term of the Loan.

3. Accrued and Unpaid interest. Borrower hereby acknowledges and agrees that all interest that accrues and remains unpaid during the
Payment Deferral Period shall not be capitalized or added to the principal balance of the Loan, but instead shall remain due and payable by
Borrower upon the earliest to occur of the full repayment of the Loan or the entire balance of the Loan becoming due and payable, whether
as a result of maturity or otherwise. Borrower may pay deferred amounts at any time during the term of the Loan.

4. Maturity Date. The maturity date of the Loan is not being extended as a result of the Payment Deferral Period.

5. Priority of Lender’s Security interests. Borrower agrees te fully cooperate with Lender in connection with obtaining any title insurance and
any other action that may be undertaken by Lender in connection with this Agreement that Lender determines is or may be necessary to
preserve the validity and/or priority of Lender's liens and/or security interests securing the Loan. Borrower further acknowledges and agrees
that Borrower shail be responsible for any and all fees, costs and expenses (including attorneys’ fees) incurred by Lender in connection with
the foregoing, which shail be due and payable by Borrower to Lender upon the earlier of the full repayment of the Loan or the entire balance
of the Loan becoming due and payable, whether as a result of maturity or otherwise.

6. Reservation of Rights. Borrower hereby acknowledges and agrees that the Payment Deferral Period is granted by Lender on a one-time
basis and that Lender reserves the right to withhold its consent to any future request that Lender provide payment deferral or relief. Nothing
herein shall be construed as a waiver of Lender's right to strictly enforce the terms of the Note and the other Loan Documents on and after
the end of the Payment Deferral Period.

?. Continuing Validity. Borrower acknowledges and agrees that, except as otherwise expressiy provided in this Agreement, all terms,
conditions and provisions of the Loan Documents shall continue in full force and effect, and remain unaffected and unchanged. This
Agreement in no way acts as a release or relinquishment of, and in no way affects, the liens, security interests and rights created by or arising
under the Loan Documents, or the priority thereof. Such liens, security interests and tights are nereby ratified. confirmed, renewed and
extended in all respects. The Loan Documents, any other security for payment of the Note, and ail rights, remedies, titles, liens and equities
securing the Note as hereby modified and the indebtedness represented thereby are hereby recognized, renewed, extended and continued
in full force and effect for the benefit of the holder of the Note and the indebtedness evidenced thereby. Except as specifically set forth in this
Agreement, all rights and remedies of Lender are reserved.

8. Release. In consideration of Lendet’s agreement to enter into this Agreement, Borrower hereby agrees as follows:

a. Borrower, on behalf of herself, and her successors and assigns (collectively the “Releasing Parties”) nereby releases and forever
discharges Lender and ail of its subsidiaries, affiliates, officers, directors, employees, agents, attorneys, advisors, and its and their
successors and assigns (collectively the “Released Parties”) from any and all claims, demands, debts, liabilities, contracts, obligations,
accounts, torts, causes of action or claims for relief of whatever kind or nature, whether known or unknown, whether suspected or
unsuspected, which the Releasing Parties may have or which may hereafter be asserted or accrue against Released Parties, or any of
them, resulting from or in any way relating to any act or omission done or committed by Released Parties, or any of them, arising directly
or indirectly out of the Loan, the Loan Documents. the transactions evidenced or contemplated thereby, the approval, the origination,

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the funding and the closing of the Loan; the review, approval, or disapproval of any and all documents, instruments, insurance and all
other items submitted to Lender in connection with the Loan: the disbursements of funds under the Loan: the modification of the Loan
made pursuant to this Agreement; Lender's acts, statements, conduct, representations and omissions made in connection with the
modification of the Loan, including, without limitation, the terms and conditions of this Agreement: any fact, matter, transaction or event
relating thereto; or the relationships existing or transactions or dealings occurring between Lender and Releasing Parties up to and as
of the date of this Agreement (the “Claims’).

b. The release described in the immediately preceding paragraph and in this paragraph applies to all Claims which the Releasing Parties
have or which may hereafter arise against the Released Parties, or any of them, as a result of acts or omissions occurring before the
date of this Agreement, whether or not known or suspected by the Parties hereto. Releasing Parties expressly acknowledge that,
although it may be that ordinarily 2 generai release does not extend to claims which the teleasing party does not know or suspect to
exist in his favor, which if known by him must have materially affected his settlement with the party released, it has ca refully considered
and taken into account in determining to enter into this Agreement the possibie existence of such unknown losses or Claims,

c. Without limiting the generality of the foregoing, Releasing Parties expressly waive any and all rights conferred upon it by any statute or
rule of law which provides that a release does not extend to claims which the releasing party does not know or suspect to exist in the
releasing party's favor at the time of executing the release, which if known by the releasing party must have materially affected the
releasing party's settlement with the released party. Further, Releasing Parties each acknowledge and waive the benefits of California
Civil Code Section 1542, and any ordinances or statutory, regulatory, or judicially created jaws or rules of any applicable jurisdiction
which may provide, in substantive part, that:

“A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR OR RELEASING PARTY DOES NOT KNOW OR
SUSPECT TO EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF KNOWN BY HIM OR
P§VOULD HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.”

(INITIALS)

d. This release by Releasing Parties shall constitute a complete defense to any claim, cause of action, defense, contract, liability,
indebtedness, obligation, jiability, claim or cause of action exists which is within the scope of those hereby released. Releasing Parties
hereby acknowledge that it has not relied upon any representation of any kind made by Lender in making the foregoing release.

This Agreement One of the Loan Documents. From and after the date hereof, this Agreement is and shall be deemed one of the Loan
Documents. An event of default under this Agreement shall constitute an event of default under the Note and the other Loan Documents.

Termination. Either party may terminate this Agreement upon written notice of termination to the other party at the address provided for in
the Loan Documents. Upon termination of this Agreement, all payments due and owing under the Note shail revert back to the payment terms
in effect directly prior to the Payment Deferral Period and Borrower shall remain obligated for payment of any and all fees, costs and/or
expenses incurred by Lender in connection with this Agreement as provided above.

General. Borrower shall execute such additional documents as Lender may require to fully effectuate the intent of this Agreement. If any
action, suit or other proceeding is brought to enforce the obligations of Borrower under this Agreement, Lender shall be entitled to receive all
of its costs and expenses of suit, including attorneys’ fees, incurred in each and every such action, suit or other proceeding, including any
and all appeals or petitions therefrom. As used in this Agreement, attorneys’ fees shall mean the full and actual cost of any legal services
actually performed in connection with the matters involved, calculated on the basis of the usual fee charged by the attorneys performing such
services, and may also include the allocable fees and costs of in-house counsel, and shall not be limited to "reasonable attorneys’ fees" as
defined in any statute or rule of court. This Agreement shall be governed by. and interpreted in accordance with. the laws of the State of
California (however, not to the exclusion of any applicable Federal law). without regard to state statutes or judicial decisions regarding choice
of law questions.

Counterparts. This document may be executed in one or more counterparts, each of which shall be deemed an original but all of which
together shall constitute one and the same instrument. Delivery of a signature page to, or an executed counterpart of, this document by
facsimile, email transmission of a scanned image, DocuSign, or other electronic means, shall be effective as delivery of an originally executed
counterpart. The words “execution,” “signed,” “signature,” and words of like import in this document shall be deemed to include electronic
signatures or the keeping of records in electronic form, each of which shall be of the same legal effect, validity, or enforceability as a manually
executed signature or the use of a paper-based record keeping system, as the case may be. to the extent and as provided for in any applicable
law, including, without limitation, Electronic Signatures in Global and National Commerce Act, the California Uniform Electronic Transaction
Act any other similar state laws based on the Uniform Electronic Transactions Act or the Uniform Commercial Code, and the parties hereto
hereby waive any objection to the contrary.

PRIOR TO SIGNING THIS AGREEMENT, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS AGREEMENT AND
BORROWER AGREES TO THE TERMS OF THIS AGREEMENT.

BORROWER:
DocuSigned by:
linda Veurkaimp 8/31/2020
x C684AS00F 040437.

Linda Veerkamp

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2522 Chambers Road, Tustin, CA 92780

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (REAL PROPERTY) will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner

stated Pity

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders“and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)

, |checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

J Service information continued on attached page

oO)
2.8 DB ITED STAT AIL:
On (date) , | served the following persons and/or entities at the last known addresses in this bankruptcy

case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Veerkamp, Linda M
18320 Regina Ave
Torrance, CA 90504

Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method

for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) , | served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration

that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

L] Service information continued on attached page

correct.

f }
eof ao} Ronald Appel, Esq. / if f

Date / Printed Name Signature’

| declare under penalty of perjury under the laws of the United States that the foregoing is jt

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2017 Page 12 F 4001-1.RFS.RP.MOTION
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Junior Lienholder

Ronald Pearlstein Profit Sharing
Plan Entrust #00393

c/o Danco

2476 Overland Ave., Suite 203
Los Angeles, CA 90064
